      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 1 of 80



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13
14                          UNITED STATES DISTRICT COURT
                                DISTRICT OF ARIZONA
15
     Facebook, Inc., a Delaware corporation;     CASE NO. 2:20-cv-00470-GMS
16   Instagram, LLC, a Delaware limited
     liability company; and WhatsApp Inc., a    NAMECHEAP, INC. AND
17   Delaware corporation,                      WHOISGUARD INC.’S ANSWER TO
                                                FIRST AMENDED COMPLAINT;
18                   Plaintiffs,                COUNTERCLAIM OF NAMECHEAP,
                                                INC.
19         v.
20   Namecheap, Inc., a Delaware corporation;
     and WhoisGuard, Inc., a Republic of         DEMAND FOR JURY TRIAL
21   Panama corporation,
22                   Defendants.
23   WhoisGuard, Inc., a Republic of Panama
     corporation;
24
                     Counterclaimant,
25
           v.
26
     Facebook, Inc., a Delaware corporation,
27
                     Counterclaim Defendant.
28
      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 2 of 80



1    Namecheap, Inc., a Delaware corporation;
2                      Counterclaimant,
3           v.
4    Facebook, Inc., a Delaware corporation,
5                      Counterclaim Defendant.
6
7
                                                ANSWER
8
            Defendants      and   Counterclaimants    Namecheap,    Inc.   (“Namecheap”)     and
9
     WhoisGuard, Inc. (“WhoisGuard”) (collectively, “Defendants”), by and through their
10
     attorneys, hereby answer the First Amended Complaint (“FAC”) of Plaintiff and
11
     Counterclaim Defendant Facebook, Inc. and Plaintiffs Instagram, LLC and WhatsApp Inc.
12
     (collectively, “Plaintiffs”) as follows:
13
     I.     INTRODUCTION1
14
            1.     Defendants are without knowledge or information sufficient to form a belief
15
     as to the truth of the allegations of paragraph 1 of the FAC and on that basis deny them.
16
            2.     Defendants are without knowledge or information sufficient to form a belief
17
     as to the truth of the allegations of paragraph 2 of the FAC and on that basis deny them.
18
            3.     Admit.
19
            4.     Deny.
20
            5.     Deny.
21
            6.     Deny.
22
            7.     Deny.
23
            8.     Deny.
24
25
26
27
            1
             Defendants have included the headings listed in the FAC simply to assist in reading
28   the pleadings and do not admit the accuracy of the headings to the extent that they can be
     construed as asserting allegations of fact.

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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 3 of 80



1          9.        Defendants admit that WhoisGuard provides a proxy service to Namecheap’s
2    customers and that WhoisGuard and Namecheap refer to this service as “WhoisGuard” with
3    a capital “G.” Defendants deny the remaining allegations of paragraph 9.
4          10.       Deny.
5          11.       Defendants admit that the WhoisGuard proxy service was offered on an “opt
6    out” basis at the time the FAC was filed. Defendants deny any remaining allegations of
7    paragraph 11.
8          12.       Deny.
9          13.       Defendants admit that WhoisGuard, acting as an administrator, has literally
10   registered domain names for Namecheap’s customers in order to provide its privacy proxy
11   service, but deny that it is the “registrant” within the meaning of the Anticybersquatting
12   Consumer Protection Act (“ACPA”). Defendants admit that WhoisGuard licenses the
13   domain name to the individual or entity who uses the domain name. Defendants further
14   admit that Plaintiffs refer to this individual or entity as the “Licensee.” Defendants deny
15   any remaining allegations of paragraph 13.
16         14.       Deny.
17         15.       Namecheap admits that it has operated parking pages which displayed links
18   to revenue-generating Google search advertisements on domains that are not associated
19   with a website. Namecheap denies that it is the “registrant” within the meaning of the ACPA
20   with respect to domain names selected by its customers. Defendants deny any remaining
21   allegations of paragraph 15.
22         16.       Deny.
23         17.       Defendants admit that WhoisGuard, acting as an administrator, has literally
24   registered domain names for Namecheap’s customers in order to provide its privacy proxy
25   services but deny that it is the “registrant” within the meaning of the ACPA.
26         18.       Defendants admit that WhoisGuard’s name appears in the registrant field in
27   public records for domain names which use the WhoisGuard service but deny that it is the
28   “registrant” within the meaning of the ACPA.


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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 4 of 80



1           19.    Defendants deny that Namecheap is WhoisGuard’s licensee. Defendants deny
2    that Namecheap used any domain names in connection with online abuse or infringement.
3    Defendants are without knowledge or information sufficient to form a belief as to the truth
4    of the remaining allegations of paragraph 19 of the FAC and on that basis deny them.
5           20.    Deny.
6           21.    Defendants are without knowledge or information sufficient to form a belief
7    as to the truth of the allegations regarding Plaintiffs’ enforcement programs and on that
8    basis deny them. Defendants deny any remaining allegations of paragraph 21.
9           22.    Deny.
10          23.    Deny.
11          24.    Deny.
12          25.    Deny.
13          26.    Defendants are without knowledge or information sufficient to form a belief
14   as to the truth of the allegations regarding the content of the Spamhaus.org reports
15   referenced in this paragraph and on that basis deny those allegations. To the extent this
16   paragraph quotes from the reports, the reports speak for themselves. Defendants deny all
17   remaining allegations of paragraph 26.
18          27.    Defendants are without knowledge or information sufficient to form a belief
19   as to the truth of the allegations regarding the content of the Brian Krebs report referenced
20   in this paragraph and on that basis deny those allegations. To the extent this paragraph
21   quotes from Krebs’ report, the report speaks for itself. Defendants deny all remaining
22   allegations of paragraph 27.
23          28.    Defendants are without knowledge or information sufficient to form a belief
24   as to the truth of the allegations regarding the content of the Brian Krebs report referenced
25   in this paragraph and on that basis deny those allegations. To the extent this paragraph
26   quotes from Krebs’ report, the report speaks for itself. Defendants deny all remaining
27   allegations of paragraph 28.
28          29.    Deny.


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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 5 of 80



1           30.    Defendants are without knowledge or information sufficient to form a belief
2    as to the truth of the allegations of paragraph 30 and on that basis deny them.
3           31.    Defendants are without knowledge or information sufficient to form a belief
4    as to the truth of the allegations of paragraph 31 and on that basis deny them.
5           32.    Namecheap denies that it played a “critical role” in any such scheme. To the
6    extent this paragraph quotes from statements of the U.S. Department of Justice, the
7    statements speak for themselves, and no response is required by Defendants. To the extent
8    a response is required, Defendants deny all allegations of paragraph 32.
9           33.    Deny.
10          34.    To the extent this paragraph quotes from an Order of the U.S. District Court
11   for the Western District of Texas issued on March 22, 2020, the Order speaks for itself, and
12   no response is required by Defendants. To the extent a response is required, Defendants
13   deny all allegations of paragraph 34.
14          35.    Deny.
15          36.    Deny.
16          37.    Deny.
17          38.    Deny.
18          39.    Deny.
19          40.    Deny.
20          41.    Defendants deny that WhoisGuard agreed that it is the Registered Name
21   Holder or that it “shall accept liability for harm caused by wrongful use of a domain name,
22   unless WhoisGuard discloses the current contact information provided by the licensee and
23   the identity of the licensee within seven days of notice to WhoisGuard of reasonable
24   evidence of actionable harm caused by that domain name.” To the extent that paragraph 41
25   is alluding to ICANN’s RAA, Defendants admit that Namecheap is a party to the RAA.
26   With respect to the contents of the RAA, the agreement speaks for itself and therefore no
27   response is required by Defendants. To the extent a response is required, Defendants deny
28   the allegations of paragraph 41.


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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 6 of 80



1           42.    Defendants admit that Plaintiffs have sent notices to WhoisGuard requesting
2    that it disclose the identity and current contact information of Licensees but deny that
3    Plaintiffs have provided reasonable evidence of actionable harm.
4           43.    Deny.
5           44.    Deny.
6           45.    Defendants admit that Plaintiffs have sent notices to Namecheap requesting
7    that Namecheap disable domain names but deny that Plaintiffs have provided reasonable
8    evidence of actionable harm.
9           46.    Deny.
10          47.    Defendants admit that Plaintiffs seeks the relief stated in paragraph 47 but
11   deny that Plaintiffs are entitled to any such relief. Defendants deny that they are engaged in
12   any unlawful or harmful conduct.
13   II.    THE PARTIES
14          48.    Defendants are without knowledge or information sufficient to form a belief
15   to the truth of the allegations in paragraph 48 of the FAC, and on that basis deny them.
16          49.    Defendants are without knowledge or information sufficient to form a belief
17   to the truth of the allegations in paragraph 49 of the FAC, and on that basis deny them.
18          50.    Defendants are without knowledge or information sufficient to form a belief
19   to the truth of the allegations in paragraph 50 of the FAC, and on that basis deny them.
20          51.    Admit.
21          52.    WhoisGuard admits that it is a Republic of Panama corporation but denies
22   that its principal place of business is in Phoenix, Arizona.
23          53.    Deny.
24   III.   JURISDICTION AND VENUE
25          54.    Paragraph 54 of the FAC contains conclusions of law to which no response is

26   required. To the extent a response is required, Defendants admit that Plaintiffs purport to

27   invoke federal question jurisdiction over the federal causes of action alleged in the FAC

28   pursuant to 28 U.S.C. § 1331.



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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 7 of 80



1           55.    Paragraph 55 of the FAC contains conclusions of law to which no response is
2    required. To the extent a response is required, Defendants admit that Namecheap has an
3    office and some servers in Phoenix, Arizona; and that Namecheap specifies Arizona in the
4    forum selection clauses of some of its contracts. Defendants deny the remaining the
5    allegations in paragraph 55 of the FAC.
6           56.    Paragraph 56 of the FAC contains conclusions of law to which no response is
7    required. To the extent a response is required, Defendants deny the allegations of paragraph
8    56.
9           57.    Defendants admit that Namecheap and WhoisGuard have entered into one or
10   more contracts related to domain name registration services and proxy services used in
11   connection with Defendants’ business. Defendants deny that a material term of these
12   contracts is Defendants’ agreement to submit to the Court’s jurisdiction. Defendants admit
13   that a copy of Namecheap’s Domain Name Registration Agreement is attached as part of
14   Exhibit 1 to the FAC but deny that Exhibit 1 includes “the referenced agreements which
15   form part of the agreement.” Defendants admit that attached to Exhibit 2 of the FAC is a
16   document titled Namecheap WHOIS Proxy Agreement but deny that this document is
17   “Whoisguard’s proxy service agreement.”
18          58.    Paragraph 58 of the FAC contains conclusions of law to which no response is
19   required. To the extent a response is required, Defendants deny the allegations of paragraph
20   58.
21   IV.    FACTUAL ALLEGATIONS
22                 A.     Background on Plaintiffs and their Trademarks
23          59.    Defendants are without knowledge or information sufficient to form a belief

24   as to the truth of the allegations of paragraph 59 of the FAC and on that basis deny them.

25          60.    Defendants are without knowledge or information sufficient to form a belief

26   as to the truth of the allegations of paragraph 60 of the FAC and on that basis deny them.

27          61.    Defendants are without knowledge or information sufficient to form a belief

28   as to the truth of the allegations of paragraph 61 of the FAC and on that basis deny them.



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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 8 of 80



1           62.    Defendants admit that documents which Plaintiffs purport to be registration
2    certificates are attached to the FAC as Exhibit 3, and that Plaintiffs collectively refer to
3    Facebook’s asserted common law and registered trademarks as the “Facebook
4    Trademarks.” Defendants are without knowledge or information sufficient to form a belief
5    as to whether Facebook owns the common law and registered trademark rights alleged.
6    Defendants deny any remaining allegations of paragraph 62.
7           63.    Defendants are without knowledge or information sufficient to form a belief
8    as to the truth of the allegations of paragraph 63 of the FAC and on that basis deny them.
9           64.    Defendants deny the allegations of paragraph 64 of the FAC.
10          65.    Defendants admit that Facebook purports to own numerous registrations for
11   its “FB marks,” including those identified in subparagraphs a through d to paragraph 65.
12   Defendants deny that Facebook is entitled to “extensive common law rights” or trademark
13   rights in the registrations identified in these subparagraphs. Defendants deny any remaining
14   allegations of paragraph 65.
15          66.    Defendants admit that documents which Plaintiffs purport to be registration
16   certificates are attached to the FAC as Exhibit 4, and that Plaintiffs collectively refer to
17   Facebook’s asserted common law and registered trademarks as the “FB Trademarks.”
18   Defendants deny that Facebook is entitled to the common law or registered trademark rights
19   in the FB Trademarks and deny all remaining allegations of paragraph 66.
20          67.    Defendants deny that Facebook’s use of the FB Trademarks in interstate
21   commerce has been extensive, continuous, and substantially exclusive. Defendants are
22   without knowledge or information sufficient to form a belief as to the truth of the remaining
23   allegations of paragraph 67 of the FAC and on that basis deny them.
24          68.    Defendants are without knowledge or information sufficient to form a belief
25   as to the truth of the allegations of paragraph 68 of the FAC and on that basis deny them.
26          69.    Defendants are without knowledge or information sufficient to form a belief
27   as to the truth of the allegations of paragraph 69 of the FAC and on that basis deny them.
28


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      Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 9 of 80



1           70.    Defendants are without knowledge or information sufficient to form a belief
2    as to the truth of the allegations of paragraph 70 of the FAC and on that basis deny them.
3           71.    Defendants admit that documents which Plaintiffs purport to be registration
4    certificates are attached to the FAC as Exhibit 5, and that Plaintiffs collectively refer to
5    Instagram’s asserted common law and registered trademarks as the “Instagram
6    Trademarks.” Defendants are without knowledge or information sufficient to form a belief
7    as to whether Instagram owns the common law and registered trademark rights alleged.
8    Defendants deny any remaining allegations of paragraph 71.
9           72.    Defendants are without knowledge or information sufficient to form a belief
10   as to the truth of the allegations of paragraph 72 of the FAC and on that basis deny them.
11          73.    Defendants are without knowledge or information sufficient to form a belief
12   as to the truth of the allegations of paragraph 73 of the FAC and on that basis deny them.
13          74.    Defendants are without knowledge or information sufficient to form a belief
14   as to the truth of the allegations of paragraph 74 of the FAC and on that basis deny them.
15          75.    Defendants are without knowledge or information sufficient to form a belief
16   as to the truth of the allegations of paragraph 75 of the FAC and on that basis deny them.
17          76.    Defendants admit that documents which Plaintiffs purport to be registration
18   certificates are attached to the FAC as Exhibit 6, and that Plaintiffs collectively refer to
19   WhatsApp’s asserted common law and registered trademarks as the “WhatsApp
20   Trademarks.” Defendants are without knowledge or information sufficient to form a belief
21   as to whether WhatsApp owns the common law and registered trademark rights alleged.
22   Defendants deny any remaining allegations of paragraph 76.
23          77.    Defendants are without knowledge or information sufficient to form a belief
24   as to the truth of the allegations of paragraph 77 of the FACC and on that basis deny them.
25
26
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 10 of 80



1                 B.     WhoisGuard Registered, as the Registrant, Many of the Infringing
2                        Domain Names2
3          78.    Defendants admit that Namecheap is accredited by ICANN and subject to a
4    version of ICANN’s RAA. Defendants are without knowledge or information sufficient to
5    form a belief as to whether the version of the RAA attached to the FAC as Exhibit 7 is the
6    operative version which Namecheap entered into, or whether it is authentic or complete.
7    Defendants deny any remaining allegations of paragraph 78.
8          79.    Defendants admit that Namecheap customers are subject to Namecheap’s
9    Domain Name Registration Agreement. Defendants are without knowledge or information
10   sufficient to form a belief as to whether each of the alleged Infringing Domain Names was
11   registered using Namecheap as the registrar or is subject to Namecheap’s Domain Name
12   Registration Agreement. Defendants deny any remaining allegations of paragraph 79.
13         80.    The content of Namecheap’s Domain Name Registration Agreement speaks
14   for itself and therefore no response is required by Defendants. To the extent a response is
15   required, Defendants deny the allegations of paragraph 80.
16         81.    The content of Namecheap’s Domain Name Registration Agreement speaks
17   for itself and therefore no response is required by Defendants. To the extent a response is
18   required, Defendants deny the allegations of paragraph 81.
19         82.    Defendants admit that WhoisGuard provides a domain registration proxy
20   service. Defendants admits that WhoisGuard, acting as an administrator, literally registers
21   domain names for Namecheap’s customers in order to provide its privacy proxy services,
22   but deny that it is the “registrant” within the meaning of the ACPA. WhoisGuard admits
23   that it licenses the domain names to the customer who selected the domain for that
24   customer’s use. Defendants deny any remaining allegations of paragraph 82 of the FAC.
25         83.    Defendants deny that the document attached as Exhibit 2 is WhoisGuard’s
26   Proxy Agreement. With respect to the contents of the document attached as Exhibit 2, the
27
28         2
            Defendants deny that WhoisGuard is the registrant of the domain names within the
     meaning of the ACPA.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 11 of 80



1    agreement speaks for itself and therefore no response is required by Defendants. To the
2    extent a response is required, Defendants deny the allegations of paragraph 83.
3           84.    To the extent that paragraph 84 is referring to or quoting the contents of the
4    document attached as Exhibit 8, the document speaks for itself and therefore no response is
5    required by Defendants. To the extent a response is required, Defendants deny the
6    allegations of paragraph 84.
7           85.    Defendants admit that WhoisGuard’s name and contact information is listed
8    in the registrant fields in WHOIS records. Defendants deny that WhoisGuard is the
9    “registrant” within the meaning of the ACPA. Defendants deny the remaining allegations
10   of paragraph 85.
11          86.    Deny.
12          87.    Deny.
13          88.    Defendants admit that a list of domains which Plaintiffs purport to be
14   infringing is attached as Exhibit 9. Defendants admit that Plaintiffs attach the purported
15   WHOIS records for allegedly infringing domain names as Exhibit 10, but Defendants are
16   without sufficient knowledge or information to form a belief as to whether the information
17   provided is authentic or complete. Defendants admit that WhoisGuard, acting as an
18   administrator, literally registers domain names for Namecheap’s customers in order to
19   provide its privacy proxy services, but deny that it is the “registrant” within the meaning of
20   the ACPA. Defendants deny all remaining allegations of this paragraph.
21          89.    Defendants admit that a list of domains which Plaintiffs purport to be
22   infringing is attached as Exhibit 11. Defendants admit that Plaintiffs attach the purported
23   WHOIS records for allegedly infringing domain names as Exhibit 12, but Defendants are
24   without sufficient knowledge or information to form a belief as to whether the information
25   provided is authentic or complete. Defendants admit that WhoisGuard, acting as an
26   administrator, literally registers domain names for Namecheap’s customers in order to
27   provide its privacy proxy services, but deny that it is the “registrant” within the meaning of
28   the ACPA. Defendants deny all remaining allegations of this paragraph.


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 12 of 80



1            90.   Defendants admit that a list of domains which Plaintiffs purport to be
2    infringing is attached as Exhibit 13. Defendants admit that Plaintiffs attach the purported
3    WHOIS records for allegedly infringing domain names as Exhibit 14, but Defendants are
4    without sufficient knowledge or information to form a belief as to whether the information
5    provided is authentic or complete. Defendants admit that WhoisGuard, acting as an
6    administrator, literally registers domain names for Namecheap’s customers in order to
7    provide its privacy proxy services, but deny that it is the “registrant” within the meaning of
8    the ACPA. Defendants deny all remaining allegations of this paragraph.
9            91.   Defendants admit that a list of domains which Plaintiffs purport to be
10   infringing is attached as Exhibit 15. Defendants admit that Plaintiffs attach the purported
11   WHOIS records for allegedly infringing domain names as Exhibit 16, but Defendants are
12   without sufficient knowledge or information to form a belief as to whether the information
13   provided is authentic or complete. Defendants admit that WhoisGuard, acting as an
14   administrator, literally registers domain names for Namecheap’s customers in order to
15   provide its privacy proxy services, but deny that it is the “registrant” within the meaning of
16   the ACPA. Defendants deny all remaining allegations of this paragraph.
17           92.   Defendants are without sufficient knowledge or information to form a belief
18   as to the truth of the allegations of paragraph 92 and on that basis deny them.
19           93.   Defendants are without sufficient knowledge or information to form a belief
20   as to the truth of the allegations of paragraph 93 and on that basis deny them.
21                 C.      Whoisguard Trafficked in the Infringing Domain Names.
22           94.   Deny.
23           95.   Defendants deny that WhoisGuard trafficked in the alleged Infringing
24   Domain Names. Defendants are without sufficient knowledge or information to form a
25   belief as to the truth of the remaining allegations of paragraph 95 and on that basis deny
26   them.
27           96.   Defendants deny that WhoisGuard trafficked in the alleged Infringing
28   Domain Names. Defendants are without sufficient knowledge or information to form a


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 13 of 80



1    belief as to the truth of the remaining allegations of paragraph 96 and on that basis deny
2    them.
3                   D.      Namecheap Trafficked In and Used Many of the Infringing
4                           Domain Names.
5            97.    Deny.

6            98.    Namecheap admits that it has operated parking pages which displayed links

7    to revenue-generating Google search advertisements on domains that are not associated

8    with a website. Defendants deny that customers were diverted away from Plaintiffs’

9    legitimate websites. Defendants deny any remaining allegations of paragraph 98.

10           99.    Deny.

11           100.   To the extent this paragraph quotes from or refers to the terms of

12   Namecheap’s Registration Agreement, the agreement speaks for itself, and no response is

13   required by Defendants. Defendants admit that paragraph 100 includes a screen capture

14   which Plaintiffs purport to be an example of a Namecheap parking page, but Defendants

15   are without knowledge or information sufficient to form a belief as to whether the screen

16   capture it is authentic or complete.

17           101.   Deny.

18           102.   Deny.

19           103.   Deny.

20           104.   Defendants admit that in response to Plaintiffs’ request for the registrant’s

21   identity and current contact information for numerous domain names, Defendants

22   erroneously provided a Namecheap’s name and contact information for the domain

23   grouplinkswhatsapp.com. Defendants subsequently provided corrected information and

24   clarified that Namecheap is not the registrant for this domain. Defendants admit that

25   attached to the FAC as Exhibit 17 are screen captures which Plaintiffs purport to be the

26   WHOIS records and parking pages for this domain, but Defendants are without knowledge

27   or information sufficient to form a belief as to whether the screen captures are authentic or

28   complete. Defendants otherwise deny all remaining allegations of paragraph 104.



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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 14 of 80



1           105.   Defendants admit that attached to the FAC as Exhibit 18 are screen captures
2    which Plaintiffs purport to be parking pages, but Defendants are without knowledge or
3    information sufficient to form a belief as to whether the screen captures are authentic or
4    complete. Defendants deny all remaining allegations of paragraph 105.
5           106.   Deny.
6           107.   Deny.
7           108.   Defendants are without knowledge or information sufficient to form a belief
8    as to the truth of the allegations of paragraph 108 and on that basis deny them.
9           109.   Defendants are without knowledge or information sufficient to form a belief
10   as to the truth of the allegations of paragraph 109 and on that basis deny them.
11                 E.      Namecheap Registered, as the Registrant, and Used Many of the
12                         Infringing Domain Names.
13          110.   Deny.

14          111.   Defendants admit that Namecheap’s name and contact information have at

15   times been listed in the registrant name, organization, or contact fields in WHOIS records.

16   Defendants deny that that fact alone makes Namecheap the “registrant” of a domain within

17   the meaning of the ACPA. Defendants deny any remaining allegations of paragraph 111.

18          112.   Deny.

19          113.   Deny.

20          114.   Defendants admit that Exhibit 19 to the FAC is a list of domain names which

21   Plaintiffs contend to be Infringing Domain Names, but deny that the domains are infringing

22   or that Namecheap is or was the registrant within the meaning of the ACPA. Defendants

23   admit that Exhibit 20 to the FAC shows what Plaintiffs purport to be the WHOIS records

24   for the alleged Infringing Domain Names, but Defendants are without knowledge or

25   information sufficient to form a belief as to whether the records are authentic or complete.

26   Defendants deny all other allegations of paragraph 114.

27          115.   Defendants admit that Exhibit 21 to the FAC is a list of domain names which

28   Plaintiffs contend to be Infringing Domain Names, but deny that the domains are infringing



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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 15 of 80



1    or that Namecheap is or was the registrant within the meaning of the ACPA. Defendants
2    admit that Exhibit 22 to the FAC shows what Plaintiffs purport to be the WHOIS records
3    for Infringing Domain Names, but Defendants are without knowledge or information
4    sufficient to form a belief as to whether the records are authentic or complete. Defendants
5    deny all other allegations of paragraph 115.
6           116.   Defendants admit that Exhibit 23 to the FAC is a list of domain names which
7    Plaintiffs contend to be Infringing Domain Names, but deny that the domains are infringing
8    or that Namecheap is or was the registrant within the meaning of the ACPA. Defendants
9    admit that Exhibit 24 to the FAC shows what Plaintiffs purport to be the WHOIS records
10   for Infringing Domain Names, but Defendants are without knowledge or information
11   sufficient to form a belief as to whether the records are authentic or complete. Defendants
12   deny all other allegations of paragraph 116.
13          117.   Defendants are without knowledge or information sufficient to form a belief
14   as to the truth of the allegations of paragraph 117 and on that basis deny them.
15          118.   Defendants are without knowledge or information sufficient to form a belief
16   as to the truth of the allegations of paragraph 118 and on that basis deny them.
17                 F.     Whoisguard’s Failure to Disclose Contact Information.
18          119.   Paragraph 119 of the FAC contains conclusions of law to which no response
19   is required. To the extent paragraph 119 alludes to or quotes the RAA, the RAA speaks for
20   itself and therefore no response is required by Defendants. To the extent a response is
21   required, Defendants deny the allegations of paragraph 119.
22          120.   Paragraph 120 of the FAC contains conclusions of law to which no response
23   is required. To the extent paragraph 120 alludes to or quotes the documents attached as
24   Exhibits 1 and 2 to the FAC, the documents speak for themselves and therefore no response
25   is required by Defendants. To the extent a response is required, Defendants deny the
26   allegations of paragraph 120.
27          121.   Paragraph 121 concerns the content of Namecheap’s Domain Registration
28   Agreement. The agreement speaks for itself and therefore no response is required by


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 16 of 80



1    Defendants. To the extent a response is required, Defendants deny the allegations of
2    paragraph 121.
3          122.   Defendants lack sufficient information to admit or deny whether Plaintiffs’
4    representatives sent notices to WhoisGuard concerning the alleged Infringing Domain
5    Names, and on that basis, deny those allegations. Defendants deny that WhoisGuard was
6    provided reasonable evidence that each of the Infringing Domain Names caused Plaintiffs
7    actionable harm. Defendants deny any remaining allegations of paragraph 122, including
8    all subparagraphs thereto.
9          123.   Deny.
10         124.   Defendants admit that after the Court denied WhoisGuard’s motion to dismiss
11   the original Complaint, Plaintiffs’ representatives sent notices to Defendants’ counsel
12   requesting the current contact information provided by the licensee and the identity of the
13   licensee, and that WhoisGuard responded to the notices. Defendants deny that WhoisGuard
14   was provided reasonable evidence that the Infringing Domain Names caused Plaintiffs
15   actionable harm. Defendants deny any remaining allegations of paragraph 124.
16         125.   Defendants deny any allegation that WhoisGuard did not provide the current
17   name and contact information provided by the licensee, or that any registrant information
18   was falsified by Defendants. Defendants deny any remaining allegations of paragraph 125.
19                G.      Defendants’ Bad Faith Intent to Profit From Plaintiffs’
20                        Trademarks.
21                        1.      Defendants’ History of Facilitating Cybersquatting.

22         126.   Deny.

23         127.   Deny.

24         128.   Deny.

25         129.   Deny.

26         130.   Deny.

27         131.   Deny.

28         132.   Deny.



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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 17 of 80



1           133.   Deny.
2           134.   Deny.
3           135.   Defendants admit that out of the millions of domains for which WhoisGuard’s
4    services have been used, some domains have been the subject of Uniform Domain Name
5    Dispute Resolution Policy (“UDRP”) complaints for cybersquatting. Defendants deny that
6    WhoisGuard is the true respondent in such actions; instead, the customer who selected and
7    registered the domain name at issue is the true respondent in interest. Defendants deny that
8    WhoisGuard was “forced to transfer” any domain names, as it has no ownership or interest
9    in the domain names and is not the registrant or registrar. Defendants deny any remaining
10   allegations of paragraph 135.
11          136.   Defendants lack knowledge and information regarding Plaintiffs’ searches for
12   UDRP complaints or the results thereof. Defendants deny that any such complaints can be
13   fairly characterized as complaints “against Whoisguard” because it is not the true
14   respondent in such actions; instead, the customer who selected and registered the domain
15   name at issue would have been the true respondent in interest. Defendants lack knowledge
16   or information regarding the contents of the document attached as Exhibit 25. Defendants
17   note, however, that Exhibit 25 shows that in such proceedings, the registrant’s identities are
18   revealed. Defendants deny any remaining allegations of paragraph 136.
19          137.   Defendants are without sufficient knowledge or information to form a belief
20   as to the allegations of paragraph 137 regarding the content of Exhibit 26 or allegations
21   concerning any default judgments. Defendants note, however, that public PACER records
22   show that each of the actions listed in Exhibit 26 included dozens or even hundreds of
23   defendants and that service of process by publication or email was authorized. WhoisGuard
24   denies that had actual notice of any action listed in Exhibit 26 in which default was entered
25   against it.
26          138.   Defendants lack knowledge and information regarding Plaintiffs’ searches for
27   UDRP complaints or the results thereof, or the content of the document attached as Exhibit
28   27 to the FAC. Defendants deny all remaining allegations of paragraph 138.


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 18 of 80



1           139.   Defendants deny that they are “aware” that WhoisGuard’s service is used to
2    infringe the trademark rights of trademark owners and further state that WhoisGuard’s
3    services are entirely automated. Defendants admit that out of the millions of domains for
4    which WhoisGuard’s services have been used, some domains have been the subject of
5    UDRP complaints for cybersquatting and that Namecheap, as the registrar, receives UDRP
6    notices. Defendants deny that WhoisGuard receives UDRP notices or that it is the
7    “registrant” or true respondent in such actions; instead, the customer who selected and
8    registered the domain name at issue is the true respondent in interest. Defendants deny any
9    remaining allegations of this paragraph.
10                         2.   Defendants’ History of Concealing Identity of the Licensees
11          140.   Deny.
12          141.   Defendants lack knowledge and information regarding the content of the
13   document attached as Exhibit 30. Defendants deny all remaining allegations of paragraph
14   141.
15          142.   Deny.
16          143.   To the extent paragraph 143 quotes from a 2012 document related to the
17   .online TLD, the document speaks for itself and no response by Defendants is required. To
18   the extent a response is required, Defendants deny the allegations of paragraph 143.
19          144.   To the extent paragraph 144 quotes from a 2012 document related to the
20   .online TLD, the document speaks for itself and no response by Defendants is required. To
21   the extent a response is required, Namecheap admits that it made the quoted statement.
22          145.   To the extent paragraph 145 quotes from a 2012 document related to the
23   .online TLD, the document speaks for itself and no response by Defendants is required. To
24   the extent a response is required, Namecheap admits that it made the quoted statement.
25          146.   To the extent paragraph 146 quotes from or alludes to the DNS Abuse
26   Framework, the document speaks for itself and no response by Defendants is required. To
27   the extent a response is required, Namecheap admits that it agreed to promptly investigate
28   allegations of DNS abuse in good faith as provided by the DNS Abuse Framework.


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 19 of 80



1    Namecheap further states that alleged trademark infringement is not a form of DNS abuse
2    covered by the DNS Abuse Framework, and that the DNS Abuse Framework imposes no
3    obligation on registrars or registries to take on the burden of policing the trademarks of third
4    parties for them. Defendants deny any remaining allegations of paragraph 146.
5           147.   To the extent paragraph 147 alludes to a 2014 notice from ICANN to
6    Namecheap, the notice speaks for itself and no response by Defendants is required. To the
7    extent a response is required, Namecheap denies the allegation.
8                          3.     Defendants’ Continued Facilitation of Cybersquatting
9                                 After Notice
10          148.   Deny.

11          149.   Deny.

12          150.   Defendants admit that WhoisGuard continued to provide the WhoisGuard

13   service after receiving Plaintiffs’ notices. Defendants deny all remaining allegations of

14   paragraph 150.

15          151.   Deny.

16          152.   Deny.

17          153.   Deny.

18          154.   Defendants lack knowledge and information regarding Plaintiffs’ UDRP

19   complaints or the results thereof. Defendants deny that any such complaints can be fairly

20   characterized as complaints “against Whoisguard” because it is not the true respondent in

21   such actions; instead, the customer who selected and registered the domain name at issue

22   would have been the true respondent in interest.

23          155.   To the extent paragraph 155 quotes or alludes to the content of Namecheap’s

24   response to Facebook’s notice dated January 23, 2019, the document speaks for itself, and

25   no response is required by Defendants. To the extent a response is required, Defendants

26   deny the allegations. As to footnote 1, Defendants lack knowledge or information as to the

27   allegations and on that basis deny them.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 20 of 80



1           156.   To the extent paragraph 156 quotes or alludes to the content of Namecheap’s
2    response to Facebook’s notice dated January 23, 2019 or documents cited therein, the
3    documents speak for themselves, and no response is required by Defendants. To the extent
4    a response is required, Defendants deny the allegations.
5           157.   Deny.
6           158.   To the extent paragraph 158 quotes or alludes to the content of WhoisGuard’s
7    response to Facebook’s notice dated January 23, 2019, the document speaks for itself, and
8    no response is required by Defendants. To the extent a response is required, Defendants
9    deny the allegations.
10          159.   To the extent paragraph 159 quotes or alludes to the content of the document
11   attached as Exhibit 2 to the FAC, the document speaks for itself, and no response is required
12   by Defendants. To the extent a response is required, Defendants deny the allegations.
13          160.   To the extent paragraph 160 quotes or alludes to the content of the document
14   attached as Exhibit 2 to the FAC, the document speaks for itself, and no response is required
15   by Defendants. To the extent a response is required, Defendants deny the allegations.
16          161.   To the extent paragraph 161 quotes or alludes to the content of the document
17   attached as Exhibit 2 to the FAC, the document speaks for itself, and no response is required
18   by Defendants. To the extent a response is required, Defendants deny the allegations.
19          162.   Deny.
20          163.   Deny.
21          164.   To the extent paragraph 164 quotes or alludes to the content of a notice from
22   Facebook to Namecheap dated May 16, 2020, the notice speaks for itself, and no response
23   is required by Defendants. To the extent a response is required, Defendants deny the
24   allegations of paragraph 164. With respect to the allegations of phishing activity,
25   Defendants lack sufficient knowledge or information to respond to those allegations and on
26   that basis deny them.
27          165.   To the extent paragraph 165 quotes or alludes to the content of a request from
28   Facebook to Namecheap dated May 26, 2020, the request speaks for itself, and no response


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 21 of 80



1    is required by Defendants. To the extent a response is required, Defendants deny the
2    allegations of paragraph 165. Specifically, Namecheap denies all allegations that it did not
3    promptly respond to Facebook’s notices. Defendants note that Facebook’s own documents
4    produced in this action reflect that the domain copyrights-fb.com was the subject of a UDRP
5    action, and that Namecheap provided a verification response disclosing the respondent’s
6    identity and contact information on May 28, 2020.
7           166.   To the extent paragraph 166 quotes or alludes to the content of an email from
8    Facebook to Namecheap dated June 5, 2020, the email speaks for itself, and no response is
9    required by Defendants. To the extent a response is required, Defendants deny the
10   allegations of paragraph 166. Specifically, Namecheap denies all allegations that it did not
11   promptly respond to Facebook’s notices. Defendants note that Facebook’s own documents
12   produced in this action reflect that the domain copyrights-fb.com was the subject of a UDRP
13   action, and that Namecheap provided a verification response disclosing the respondent’s
14   identity and contact information on May 28, 2020.
15          167.   To the extent paragraph 167 quotes or alludes to the content of an email from
16   Facebook to Namecheap dated June 8, 2020, the email speaks for itself, and no response is
17   required by Defendants. To the extent a response is required, Defendants deny the
18   allegations of paragraph 167. Specifically, Namecheap denies all allegations that it did not
19   promptly respond to Facebook’s notices. Defendants note that Facebook’s own documents
20   produced in this action reflect that the domain copyrights-fb.com was the subject of a UDRP
21   action, and that Namecheap provided a verification response disclosing the respondent’s
22   identity and contact information on May 28, 2020.
23          168.   To the extent paragraph 168 quotes or alludes to the content of
24   communications between Facebook and Namecheap dated June 10, 2020, the
25   communications speak for themselves, and no response is required by Defendants. To the
26   extent a response is required, Defendants deny the allegations of paragraph 168.
27          169.   To the extent paragraph 169 quotes or alludes to the content of a
28   communication from Facebook to Namecheap dated June 10, 2020, the communication


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 22 of 80



1    speaks for itself, and no response is required by Defendants. To the extent a response is
2    required, Defendants deny the allegations of paragraph 169.
3           170.   Defendants deny the allegation that Namecheap took no action. Defendants
4    note that Facebook’s own documents produced in this action reflect that the UDRP action
5    was already pending on May 28, 2020, and that Namecheap provided a verification response
6    disclosing the respondent’s identity and contact information on that date. Defendants admit
7    that the domain name was ultimately transferred to Facebook’s counsel. Defendants deny
8    any remaining allegations of paragraph 170.
9                  H.      Defendants engage in a pattern and practice of refusing to disclose
10                         customer information, and continuing to provide services, in order
11                         to attract business from cybercriminals and trademark infringers.

12          171.   Deny.

13          172.   Deny.

14          173.   Deny.

15          174.   Defendants are without sufficient knowledge or information to admit or deny

16   the allegations of this paragraph and on that basis deny them.

17          175.   Defendants are without sufficient knowledge or information to admit or deny

18   the allegations of this paragraph and on that basis deny them.

19          176.   Deny.

20          177.   Deny.

21          178.   To the extent paragraph 178 quotes from a statement by Namecheap’s CEO,

22   the statement speaks for itself, and no response is required by Defendants. To the extent a

23   response is required, Defendants deny the allegations of this paragraph.

24          179.   Deny.

25          180.   Deny.

26          181.   Deny.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 23 of 80



1                  I.        Namecheap is responsible for the actions of Whoisguard because
2                            Whoisguard is an alter ego of Namecheap, and Namecheap is a
3                            direct participant in those actions.3
4           182.   Deny.

5           183.   Deny.

6           184.   Deny.

7           185.   Namecheap admits that in the past, it has registered domain names for

8    customers in order to provide a former version of its privacy service but denies that it

9    became the “registered owner” or “registrant” within the meaning of the ACPA. Defendants

10   deny any remaining allegations of paragraph 185.

11          186.   Namecheap admits that in the past, its name has at times been listed in the

12   registrant field in public WHOIS records as a proxy for customers who elected to use a

13   former version of its privacy service but denies that it became the “registered owner” or

14   “registrant” within the meaning of the ACPA. Defendants deny any remaining allegations

15   of paragraph 186.

16          187.   To the extent paragraph 187 alludes to or quotes from the Solid Host, NL v.

17   Namecheap, Inc. opinion, the opinion speaks for itself, and no response is required. To the

18   extent a response is required, Defendants deny the allegations of this paragraph. Defendants

19   further note that the Solid Host opinion was overruled by the Ninth Circuit.

20          188.   To the extent paragraph 188 alludes to or quotes from the Solid Host, NL v.

21   Namecheap, Inc. opinion, the opinion speaks for itself, and no response is required. To the

22   extent a response is required, Defendants deny the allegations of this paragraph.

23   Specifically, Defendants deny that Namecheap was the registrant or “used” any domain

24   name at issue in that case. Defendants further note that the Solid Host opinion was overruled

25   by the Ninth Circuit.

26          189.   Deny.

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            3
              Defendants deny that Namecheap is the alter ego of WhoisGuard or a direct
28   participant in WhoisGuard’s actions, or that it is otherwise responsible for the actions of
     WhoisGuard.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 24 of 80



1           190.   Deny.
2           191.   Deny.
3           192.   To the extent paragraph 192 quotes or alludes to the content of WhoisGuard’s
4    response to Facebook’s notice dated January 23, 2019, the document speaks for itself, and
5    no response is required by Defendants. To the extent a response is required, Defendants
6    deny the allegations.
7           193.   Deny.
8           194.   Deny.
9           195.   Deny.
10          196.   Deny.
11          197.   Deny.
12          198.   Deny.
13          199.   Deny.
14          200.   Deny.
15          201.   Deny.
16          202.   Deny.
17          203.   Deny.
18          204.   Deny.
19          205.   Deny.
20          206.   Defendants lack sufficient knowledge or information as to the availability of
21   public information. Defendants deny all remaining allegations of this paragraph.
22          207.   Defendants admit that Namecheap describes the service as “WhoisGuard by
23   Namecheap” and that WhoisGuard provides a domain name registration proxy service on
24   behalf of Namecheap. Defendants are without knowledge or information sufficient to form
25   a belief as to whether the document attached as Exhibit 28 is an annotated screen capture of
26   Namecheap’s website. Defendants deny all remaining allegations of paragraph 207.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 25 of 80



1           208.   To the extent this paragraph quotes from or alludes to statements made by
2    Namecheap’s CEO, the statements speak for themselves, and no response is required. To
3    the extent a response is required, Defendants deny the allegations of this paragraph.
4           209.   To the extent this paragraph quotes from or alludes to statements made by
5    Namecheap’s CEO, the statements speak for themselves, and no response is required. To
6    the extent a response is required, Defendants deny the allegations of this paragraph.
7           210.   Deny.
8           211.   Deny.
9           212.   Deny.
10          213.   Deny.
11          214.   Defendants admit that previously, Namecheap’s customers could obtain the
12   WhoisGuard service directly from their Namecheap user account. Defendants are without
13   knowledge or information as to whether the document attached as Exhibit 29 is an authentic
14   or complete copy of a Namecheap support page. Defendants deny all remaining allegations
15   of paragraph 214.
16          215.   To the extent this paragraph quotes from or alludes to statements made by
17   Namecheap’s CEO, the statements speak for themselves, and no response is required. To
18   the extent a response is required, Defendants deny the allegations of this paragraph.
19          216.   To the extent this paragraph quotes from or alludes to statements on blog posts
20   on Namecheap’s website, the statements speak for themselves, and no response is required.
21   To the extent a response is required, Defendants deny the allegations of this paragraph.
22          217.   Deny.
23          218.   Defendants admit that customers cannot access the WhoisGuard service
24   through WhoisGuard’s website. Defendants deny the remaining allegations of this
25   paragraph.
26          219.   Deny.
27          220.   Deny.
28


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 26 of 80



1           221.   Defendants admit that WhoisGuard’s services are provided to Namecheap’s
2    users at no charge to the users, and that Namecheap in the past provided the WhoisGuard
3    service as part of its regular service. Defendants deny any remaining allegations of
4    paragraph 221.
5           222.   Admit.
6           223.   To the extent this paragraph quotes from Namecheap’s website, the website
7    speaks for itself, and no response is required. To the extent a response is required,
8    Defendants admit that Namecheap customers cannot transfer their WhoisGuard
9    subscriptions to domains registered with other registrars. Defendants deny any remaining
10   allegations of this paragraph.
11          224.   Deny.
12          225.   Deny.
13          226.   Deny.
14          227.   Defendants admit that Namecheap has in the past responded to inquiries
15   regarding registrant information. Defendants deny that they were served with reasonable
16   evidence of actionable harm. Defendants deny the remaining allegations of paragraph 227.
17          228.   Deny.
18          229.   Deny.
19          230.   Deny.
20          231.   Defendants admit that when administrative domain name complaints are
21   filed, Namecheap discloses the name of the registrant to the dispute provider’s
22   administrator. Defendants deny that WhoisGuard is subject to any requirement to disclose
23   information in such proceedings, as it is not a registrar. Defendants deny any remaining
24   allegations of this paragraph.
25          232.   Defendants deny that the WHOIS information for whoisguard.com is
26   currently hidden by the WhoisGuard proxy service. Defendants otherwise admit the
27   allegations of this paragraph.
28          233.   Deny.


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 27 of 80



1          234.   Deny.
2          235.   Deny.
3          236.   Deny.
4          237.   Deny.
5          238.   Deny.
6          239.   Deny.
7          240.   Deny.
8          241.   Admit.
9          242.   Defendants admit that the Salduba Building address in Panama City is the
10   address of a law firm. Defendants are without knowledge or information as to the remaining
11   allegations of paragraph 242 and on that basis deny them.
12                J.      Licensees Trafficked In and Used the Infringing Domain Names
13                        With a Bad Faith Intent to Profit From Plaintiffs’ Trademarks
14         243.   To the extent the allegations of this paragraph pertain to Namecheap,

15   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

16   admit or deny all remaining allegations of this paragraph and on that basis deny them.

17         244.   Defendants admit that Namecheap suspended some of the alleged Infringing

18   Domain Names for abuse. Defendants lack knowledge or information as to the remaining

19   allegations of this paragraph and on that basis deny them.

20         245.   Namecheap admits that it has operated parking pages which displayed links

21   to revenue-generating Google search advertisements on domains that are not associated

22   with a website. Defendants otherwise deny the allegations of this paragraph.

23         246.   Defendants lack knowledge or information as to the allegations of this

24   paragraph and on that basis deny them.

25         247.   To the extent the allegations of this paragraph pertain to Namecheap,

26   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

27   admit or deny all remaining allegations of this paragraph and on that basis deny them.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 28 of 80



1                                  FIRST CAUSE OF ACTION
2           [Cybersquatting on Plaintiffs’ Trademarks Under 15 U.S.C. § 1125(d)]
3           248.   Defendants incorporate by reference their responses to all of the preceding
4    paragraphs, as though fully set forth herein.
5           249.   Defendants lack knowledge or information sufficient to admit or deny the
6    allegations in paragraph 249 and on that basis deny them.
7           250.   Defendants lack knowledge or information sufficient to admit or deny the
8    allegations in paragraph 250 and on that basis deny them.
9           251.   Deny.
10          252.   Deny.
11          253.   Deny.
12          254.   Admit.
13          255.   Admit.
14          256.   Admit.
15          257.   Deny.
16          258.   Deny.
17          259.   Deny.
18          260.   Deny.
19          261.   Deny.
20          262.   Defendants lack knowledge or information sufficient to admit or deny the
21   allegations in this paragraph and on that basis deny them.
22          263.   Defendants lack knowledge or information sufficient to admit or deny the
23   allegations in this paragraph and on that basis deny them.
24          264.   Defendants lack knowledge or information sufficient to admit or deny the
25   allegations in this paragraph and on that basis deny them.
26          265.   Defendants lack knowledge or information sufficient to admit or deny the
27   allegations in this paragraph and on that basis deny them.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 29 of 80



1           266.   Defendants lack knowledge or information sufficient to admit or deny the
2    allegations in this paragraph and on that basis deny them.
3           267.   Defendants lack knowledge or information sufficient to admit or deny the
4    allegations in this paragraph and on that basis deny them.
5           268.   Defendants lack knowledge or information sufficient to admit or deny the
6    allegations in this paragraph and on that basis deny them.
7           269.   Defendants lack knowledge or information sufficient to admit or deny the
8    allegations in this paragraph and on that basis deny them.
9           270.   Defendants lack knowledge or information sufficient to admit or deny the
10   allegations in this paragraph and on that basis deny them.
11          271.   Deny.
12          272.   Deny.
13          273.   Deny.
14          274.   Deny.
15                                SECOND CAUSE OF ACTION
16      [Trademark and Service Mark Infringement of Plaintiffs’ Trademarks Under
17                                        15 U.S.C. § 1114]

18          275.   Defendants incorporate by reference their responses to all of the preceding

19   paragraphs, as though fully set forth herein.

20          276.   Deny.

21          277.   Defendants lack knowledge or information sufficient to admit or deny the

22   allegations in this paragraph and on that basis deny them.

23          278.   Deny.

24          279.   To the extent the allegations of this paragraph pertain to Namecheap,

25   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

26   admit or deny all remaining allegations of this paragraph and on that basis deny them.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 30 of 80



1           280.   To the extent the allegations of this paragraph pertain to Namecheap,
2    Defendants deny the allegations. Defendants lack knowledge or information sufficient to
3    admit or deny all remaining allegations of this paragraph and on that basis deny them.
4           281.   Deny.
5           282.   Deny.
6           283.   Deny.
7                                  THIRD CAUSE OF ACTION
8      [Trademark and Service Mark Infringement of Plaintiffs’ Trademarks and False
9                       Designation of Origin Under 15 U.S.C. § 1125(a)]

10          284.   Defendants incorporate by reference their responses to all of the preceding

11   paragraphs, as though fully set forth herein.

12          285.   Deny.

13          286.   Deny.

14          287.   Defendants lack knowledge or information sufficient to admit or deny the

15   allegations in this paragraph and on that basis deny them.

16          288.   Deny.

17          289.   To the extent the allegations of this paragraph pertain to Namecheap,

18   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

19   admit or deny all remaining allegations of this paragraph and on that basis deny them.

20          290.   To the extent the allegations of this paragraph pertain to Namecheap,

21   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

22   admit or deny all remaining allegations of this paragraph and on that basis deny them.

23          291.   Deny.

24          292.   Deny.

25          293.   Deny.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 31 of 80



1                                 FOURTH CAUSE OF ACTION
2             [Dilution of the Facebook Trademarks and Instagram Trademarks
3                                    Under 15 U.S.C. § 1125(c)]
4           294.   Defendants incorporate by reference their responses to all of the preceding

5    paragraphs, as though fully set forth herein.

6           295.   Defendants lack knowledge or information sufficient to admit or deny the

7    allegations in this paragraph and on that basis deny them.

8           296.   To the extent the allegations of this paragraph pertain to Namecheap,

9    Defendants deny the allegations. Defendants lack knowledge or information sufficient to

10   admit or deny all remaining allegations of this paragraph and on that basis deny them.

11          297.   To the extent the allegations of this paragraph pertain to Namecheap,

12   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

13   admit or deny all remaining allegations of this paragraph and on that basis deny them.

14          298.   To the extent the allegations of this paragraph pertain to Namecheap,

15   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

16   admit or deny all remaining allegations of this paragraph and on that basis deny them.

17          299.   To the extent the allegations of this paragraph pertain to Namecheap,

18   Defendants deny the allegations. Defendants lack knowledge or information sufficient to

19   admit or deny all remaining allegations of this paragraph and on that basis deny them.

20          300.   Deny.

21          301.   Deny.

22          302.   Deny.

23          Defendants deny every allegation of the FAC not expressly admitted herein.

24                                 AFFIRMATIVE DEFENSES

25          Defendants allege and assert the following defenses in response to the allegations

26   contained in Plaintiffs’ FAC. Defendants specifically reserve the right to assert additional

27   defenses that become known through the course of discovery.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 32 of 80



1                                         FIRST DEFENSE
2           This Court does not have personal jurisdiction over WhoisGuard.
3                                       SECOND DEFENSE
4           Plaintiffs’ FAC fails to state a claim upon which relief can be granted.
5                                        THIRD DEFENSE
6           Plaintiffs’ claims are barred, in whole or in part, by the Lanham Act safe harbor for
7    domain service providers. 15 U.S.C. § 1114.
8                                       FOURTH DEFENSE
9           Plaintiffs lack standing to bring their claims, in whole or in part, because they do not
10   possess valid trademark rights in the alleged trademarks. Plaintiffs’ alleged trademark
11   registrations are invalid for the reasons set forth in the below counterclaim and therefore
12   cannot support Plaintiffs’ claims. Alternatively, Plaintiffs’ alleged trademarks are not
13   distinctive or famous, and therefore they cannot support Plaintiffs’ claims for violation of
14   the ACPA and/or for dilution.
15                                       FIFTH DEFENSE
16          On information and belief, Plaintiffs have made false or improper representations
17   with the intent to induce the U.S. Patent and Trademark Office to issue a trademark
18   representation.
19                                       SIXTH DEFENSE
20          Plaintiffs’ claims are barred by the equitable defense of laches.
21                                     SEVENTH DEFENSE
22          Plaintiffs’ claims are barred by the equitable defenses of estoppel and/or waiver.
23                                      EIGHTH DEFENSE
24          Plaintiffs’ claims are barred by the doctrine of acquiescence.
25                                       NINTH DEFENSE
26          Plaintiffs’ claims are barred by unclean hands.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 33 of 80



1                                          TENTH DEFENSE
2           Plaintiffs’ claims are barred by the Plaintiffs’ failure to mitigate their damages,
3    including by choosing not to seek transfer of the domains at issue by the fastest available
4    means such as through a UDRP proceeding which would typically have been resolved far
5    faster than the proceedings Plaintiffs chose to pursue.
6                                     ELEVENTH DEFENSE
7           Plaintiffs’ claims are barred by the failure of Plaintiffs to join an indispensable party
8    as defendant in this action, including the domain name registrants, the companies
9    responsible for hosting the allegedly abusive websites’ content, and anyone else that may
10   be involved in the operation of the allegedly abusive websites, phishing, malware, or spam.
11                                     TWELFTH DEFENSE
12          Plaintiffs’ claims are barred in whole or in part because, upon information and belief,
13   some or all of the registrants have legitimate rights in the names, the registrants made lawful
14   use of the domain names in connection with the good faith offering of goods or services,
15   and/or the registrants’ use of the names was noncommercial or protected by the doctrine of
16   fair use.
17                           DEFENDANTS’ PRAYER FOR RELIEF
18          WHEREFORE, Defendants pray for judgment against Plaintiffs as follows:
19          1. That the FAC be dismissed with prejudice in its entirety;
20          2. That Plaintiffs take nothing by reason of their FAC;
21          3. That judgment be entered in favor of Defendants;
22          4. For recovery of Defendants’ costs of suit, including their attorneys’ fees to the
23               extent recoverable; and
24          5. For such other and further relief as the Court deems just and equitable.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 34 of 80



1         NAMECHEAP, INC.’S COUNTERCLAIM AGAINST FACEBOOK, INC.
2           Defendant and Counterclaimant Namecheap, Inc. (“Namecheap”), for its
3    counterclaim against Plaintiff and Counter Defendant Facebook, Inc. (“Facebook”), alleges
4    as follows:
5                                 JURISDICTION AND VENUE
6           1.      The Court has jurisdiction over the subject matter of this counterclaim
7    pursuant to 28 U.S.C. §§ 1331 and 1338(a), as this counterclaim arises under the trademark
8    laws of the United States.
9           2.      Venue is proper and should be maintained in this Court pursuant to 28 U.S.C.
10   § 1391.
11                                         THE PARTIES
12          3.      Based on the allegations in paragraph 48 of the FAC, Namecheap is informed
13   and believes and therefore alleges that Facebook is a Delaware corporation with its principal
14   place of business in Menlo Park, California.
15          4.      Namecheap is a Delaware corporation with its principal place of business in
16   Phoenix, Arizona.
17                                  FACTUAL ALLEGATIONS
18                  A.     Beginning in 2008, Facebook Filed Applications for the FB Mark
19          5.      Based on the allegations of paragraph 37 of the original Complaint, Facebook
20   claims to own “numerous” United States registrations for its asserted FB wordmark, i.e.,
21   the letters “FB” in standard characters without regard to any particular design, font, or style
22   (hereinafter referred to as the “FB Mark”), including the following federal trademark
23   registrations (collectively, the “FB Registrations”):
24               a. United States Registration Number 4,659,777 (the ’777 Registration);
25               b. United States Registration Number 4,764,764 (the ’764 Registration);
26               c. United States Registration Number 4,782,234 (the ’234 Registration); and
27               d. United States Registration Number 4,782,235 (the ’235 Registration).
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 35 of 80



1          6.      Based on public information made available by the United States Patent and
2    Trademark Office (USPTO), the FB Registrations list the following services:
3               a. ’777 Registration:
4                         International Class 035: Promoting the goods and services of others
5                         over the Internet
6               b. ’764 Registration:
7                         International Class 042: Computer services, namely, hosting online
8                         web facilities for others for organizing and conducting online
9                         meetings, gatherings, and interactive discussions; computer services in
10                        the nature of customized web pages featuring user defined
11                        information, personal profiles and information
12              c. ’234 Registration:
13                        International Class 045: Internet based social introduction and social
14                        networking services
15              d. ’235 Registration:
16                        International Class 038: Providing online chat rooms and electronic
17                        bulletin boards for transmission of messages among registered users in
18                        the fields of collegiate life, general interest, classifieds, virtual
19                        community, and for social networking; and peer-to-peer photo sharing
20                        services, namely, electronic transmission of digital images among
21                        Internet and mobile device users
22         7.      Facebook filed the application which eventually matured into the ’777
23   Registration on July 14, 2008.
24         8.      Facebook filed the application which eventually matured into the ’764
25   Registration on July 14, 2008.
26         9.      Facebook filed the application which eventually matured into the ’234
27   Registration on March 12, 2012.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 36 of 80



1           10.    Facebook filed the application which eventually matured into the ’235
2    Registration on March 6, 2012.
3           11.    Based on public information made available by the USPTO, Facebook filed
4    the applications for each of the FB Registrations as intent-to-use applications pursuant to
5    15 U.S.C. § 1051(b), supporting an inference that as of the time the applications were filed
6    Facebook was not yet using the FB Mark.
7                  B.     For Years, Facebook Filed Boilerplate Requests for Extensions of
8                         Time to Submit Proof of Use of the FB Mark in Commerce
9           12.    In connection with each of the FB Registrations, Facebook filed several years

10   of requests for extensions of time to submit Statements of Use and specimens purporting to

11   demonstrate use in commerce to the USPTO after the applications were allowed.

12          13.    With respect to the ’777 Registration, the USPTO issued a Notice of

13   Allowance on November 1, 2011. Facebook requested five extensions of time. Facebook

14   did not submit a Statement of Use and alleged specimen until October 30, 2014, almost

15   three years after allowance. A Statement of Use and specimen must be filed no later than

16   three years after a Notice of Allowance or the application will be deemed abandoned.

17          14.    With respect to the ’764 Application, the USPTO issued a Notice of

18   Allowance on November 8, 2011. Facebook requested five extensions of time. Facebook

19   did not submit a Statement of Use and alleged specimen until November 7, 2014, almost

20   three years after allowance.

21          15.    With respect to the ’234 Application, the USPTO issued a Notice of

22   Allowance on April 9, 2013. Facebook requested four extensions of time. Facebook did not

23   submit a Statement of Use and alleged specimen until May 12, 2015, more than two years

24   after allowance.

25          16.    With respect to the ’235 Application, the USPTO issued a Notice of

26   Allowance on April 9, 2013. Facebook requested four extensions of time. Facebook did not

27   submit a Statement of Use and alleged specimen until May 12, 2015, more than two years

28   after allowance.



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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 37 of 80



1           17.    In each of the requests for extension for all FB Registrations, Facebook made
2    the representation to the USPTO that it had “made the following ongoing efforts to use the
3    mark in commerce on or in connection with each of those goods/services covered by the
4    extension request: product or service research or development.” In some of the extension
5    requests, Facebook also stated that it was engaged in “market research.” Thus, identical
6    boilerplate grounds for extensions were repeatedly made by Facebook about its alleged
7    ongoing efforts to use the FB Mark in commerce.
8                  C.     Facebook Submitted Deficient Specimens
9           18.    In each of the Statements of Use for the FB Registrations, Facebook’s
10   attorney declared to the USPTO under penalty of perjury on Facebook’s behalf that
11   Facebook’s first use in commerce of the FB Mark occurred on “04/00/2014.”
12          19.    Facebook submitted multiple requests for extensions of time to submit a
13   Statement of Use after April 2014, the date of purported first use in commerce ultimately
14   identified in the Statements of Use.
15          20.    For example, in each of the ’234 and ’235 Registrations, Facebook filed
16   requests for extensions of time on October 1, 2014 and April 8, 2015. In each of these
17   filings, Facebook represented to the USTPO that it had “a continued bona fide intention” to
18   use the FB Mark in commerce on or in connection with all of the services—thus
19   representing that it was not then currently using the FB Mark in connection with those
20   services—and that it was engaged in ongoing “product or service research or development”
21   and “market research” in connection with using the FB Mark in commerce with each of the
22   services. When Facebook submitted its Statements of Use for the ’234 and ’235
23   Registrations, it represented that the FB Mark had been first used in commerce on
24   “04/00/2014.”
25          21.    In connection with its applications for each of the FB Registrations, Facebook
26   submitted as specimens of its purported use in commerce screenshots from the FB
27   Newswire Facebook page, representative examples of which are reproduced below:
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 38 of 80



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18        (alleged proof of use in commerce for the ’235, ’234, and ’764 Registrations)
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 39 of 80



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21          (alleged proof of use in commerce for the ’777 Registration)

22          22.    The specimens submitted by Facebook do not show the FB Mark in use in

23   commerce in connection with all of the services specified in the FB Registrations. A service

24   mark specimen must show the mark as actually used in the sale or advertising of the services

25   recited in the application and must show a direct association between the mark and the

26   services. TMEP § 1301.04; 37 C.F.R.§ 2.56(b)(2). Facebook’s FB Newswire specimens fail

27   to meet these criteria with respect to the services recited in the FB Registrations.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 40 of 80



1           23.    For example, a banner ad along the right side of the FB Newswire page does
2    not show the FB Mark used in the sale or advertising of Facebook’s services “promoting
3    the goods and services of others over the Internet,” nor does the specimen show a direct
4    association between the FB Mark and any of the services at issue—particularly given that
5    sponsored ads appear in the same position on the page for other Facebook webpages, not
6    just the FB Newswire page.
7           24.    The specimens also fail to show use of the FB mark applied for and sought to
8    be registered. The designations in the top center are a color design, “FBNewswire,” (“FB”
9    in the color blue), followed by the phrase, “POWERED BY storyful.” The other use at the
10   top left, is “FB Newswire,” in white letters followed by a blue and white “check mark” in a
11   circle design, with the word “Community” beneath in white lettering. Such uses, assuming
12   any trademark use at all (there is none) are at best a material alteration of the FB Mark and
13   not a trademark use of the mark sought to be registered. Such use does not function as a
14   trademark use of the FB Mark. The displayed uses of the mark display different marks and
15   do not display the FB Mark sought to be registered. The website screenshots are also
16   missing important information such as a URL or browser tab and are displayed in a way
17   that suggests they were not published. On information and belief, Facebook never used the
18   FB Mark as a trademark or service mark prior to its filing of its Statements of Use.
19          25.    The Examining Attorney for the ’777 Registration issued an Office Action on
20   November 12, 2014 in response to Facebook’s Statement of Use rejecting the FB Newswire
21   specimen as “unacceptable” because the specimen does not demonstrate that Facebook is
22   using the FB Mark in “promoting the goods and services of others over the Internet.”
23   Nonetheless, just one week later, and without receiving any written response from Facebook
24   to the Office Action, withdrawing the Office Action, or noting any informal discussion to
25   resolve the Office Action, the USPTO issued a Notice of Acceptance for the Statement of
26   Use for the ’777 Registration.
27          26.    The Examining Attorney for the ’764 Registration issued an Office Action on
28   November 14, 2014 rejecting the FB Newswire specimen as unacceptable because “the


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 41 of 80



1    specimen does not show the applied-for mark in use in commerce in connection with any
2    of the services specified in the statement of use.” The Examining Attorney further noted:
3    “Specifically, the specimen shows use of the mark with a news and current events page
4    and does not demonstrate use with the identified services.” In response to the Office
5    Action, Facebook submitted additional screenshots from the same alleged FB Newswire
6    page. This time, the USPTO accepted the specimens and granted the registration although
7    the specimens and the proof needed to support a Statement of Use were lacking.
8           27.       The FB Newswire page which Facebook used to obtain the FB Registrations
9    ceased operating on or about October 18, 2016, after Facebook had obtained the FB
10   Registrations.
11          28.       Upon information and belief, Facebook made no trademark use of the FB
12   Mark in commerce in connection with any of the services in the FB Registrations for at least
13   three years after the FB Newswire page was shut down.
14          29.       After obtaining the FB Registrations, Facebook used its FB Registrations for
15   the purpose of initiating domain name dispute proceedings, targeting domains that contain
16   the character string “FB.” Facebook’s conduct misuses our United States trademark law and
17   registration system.
18                    D.    In 2019, Facebook Filed an Intent-to-use Application for the FB
19                          Mark for More Than 400 Services, Including Those in the FB
20                          Registrations

21          30.       On November 4, 2019, Facebook filed an intent-to-use application pursuant

22   to 15 U.S.C. § 1051(b) for the FB Mark, which is assigned United States Serial Number

23   88679058 (“2019 FB Application”). The 2019 FB Application is currently under

24   examination although it is suspended.

25          31.       In the 2019 FB Application, Facebook sought to register the FB Mark (i.e.,

26   the letters “FB” in standard characters without claim to any particular font style, size, or

27   color) in connection with the following services:

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 42 of 80



1            a. International Class 009: Downloadable software for engaging in social
2               networking and interacting with online communities; Downloadable
3               computer    software    development      tools;   Downloadable      application
4               programming interface (API) software for use in building software
5               applications; Downloadable application programming interface (API)
6               software which facilitates online services for social networking and for data
7               retrieval, upload, download, access and management; Downloadable software
8               for creating, managing, and interacting with an online community;
9               Downloadable software for organizing events, searching for events,
10              calendaring and managing events; Downloadable software for creating,
11              editing, uploading, downloading, accessing, viewing, posting, displaying,
12              tagging, blogging, streaming, linking, annotating, indicating sentiment about,
13              commenting on, embedding, transmitting, and sharing or otherwise providing
14              electronic media or information via computer the internet and communication
15              networks; Downloadable software for modifying and enabling transmission
16              of images, audio, audio visual and video content and data; Downloadable
17              software for sending and receiving electronic messages, alerts, notifications
18              and reminders; Downloadable search engine software; Downloadable
19              software for use in creating, managing, measuring, and disseminating
20              advertising of others; Downloadable software for mapping; Downloadable
21              software   for   planning   activities   with     other   users   and    making
22              recommendations; Downloadable software for social and destination
23              mapping; Location-aware downloadable software for searching, determining
24              and sharing locations; downloadable software, namely, an application
25              providing social networking functionalities; Downloadable software for
26              creating, managing and accessing groups within virtual communities;
27              Downloadable     software    for   location-based     searching    and    alerts;
28              Downloadable software for searching and identifying employment


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 43 of 80



1               opportunities; Downloadable software for identifying and allowing users to
2               contact government representatives; Downloadable software providing a
3               virtual marketplace; Downloadable software providing location-based
4               weather information; Downloadable software providing, linking to, or
5               streaming news or current events information; Downloadable software in the
6               nature of a mobile application for creating, sharing, disseminating and posting
7               advertising; Downloadable software for geo-location based advertising and
8               product and service promotion; Downloadable software for viewing and
9               interacting with a feed of images, audio-visual and video content, and
10              associated text and data; downloadable software for creating and managing
11              social media profiles and user accounts; Downloadable software for
12              uploading, downloading, streaming, archiving, transmitting, and sharing
13              images, audio-visual and video content and associated text and data;
14              Downloadable software that enables individuals, groups, companies, and
15              brands to create and maintain an online presence for marketing purposes;
16              Downloadable software for advertisers to communicate and interact with
17              online communities; Downloadable software for streaming multimedia
18              entertainment content; Downloadable software for use in taking and editing
19              photographs and recording and editing videos; Downloadable software for
20              sending and receiving electronic messages, graphics, images, audio and audio
21              visual content via the internet and communication networks; Downloadable
22              software in the nature of a mobile application for social networking;
23              Downloadable software for online charitable fundraising and making and
24              soliciting financial donations; Computer hardware; Downloadable software
25              for use as an application programming interface (API); Downloadable
26              software for modifying photographs, images and audio, video, and audio-
27              visual content with photographic filters and augmented reality (AR) effects,
28              namely, graphics, animations, text, drawings, geotags, metadata tags,


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 44 of 80



1               hyperlinks; Downloadable software for the collection, managing, editing,
2               organizing, modifying, transmission, sharing, and storage of data and
3               information; Downloadable e-commerce computer software to allow users to
4               perform electronic business transactions via a global computer and
5               communication networks; Ad server, namely, a computer server for storing
6               advertisements and delivering advertisements to websites; Downloadable
7               virtual reality game software; Downloadable augmented reality game
8               software; Downloadable mixed reality game software; Downloadable virtual
9               reality game computer hardware; Downloadable augmented reality game
10              computer hardware; Downloadable mixed reality game computer hardware;
11              Computer peripheral devices; Downloadable virtual reality software for use
12              in enabling computers, video game consoles, handheld video game consoles,
13              tablet computers, mobile devices, and mobile telephones to provide virtual
14              reality experiences; Downloadable electronic game software for wireless
15              devices; Downloadable electronic game software for handheld electronic
16              devices; Downloadable electronic game software; Wearable computer
17              peripherals for computers, tablet computers, mobile devices and mobile
18              telephones; Downloadable virtual reality software for providing virtual reality
19              experiences; Downloadable augmented reality software for providing
20              augmented reality experiences; Downloadable mixed reality software for
21              providing mixed reality experiences; Downloadable video game software;
22              Downloadable      interactive   multimedia    computer     game     programs;
23              Downloadable electronic game programs; Downloadable computer game
24              software; Headsets for use with computers; Laser equipment for non-medical
25              purposes; Downloadable software for integrating electronic data with real
26              world environments for the purposes of entertainment, education, gaming,
27              communicating, and social networking; Downloadable software for accessing
28              and viewing text, images and electronic data relating to conferences in the


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 45 of 80



1               field of software development; Downloadable software to enable
2               development, assessment, testing, and maintenance of mobile software
3               applications for portable electronic communication devices, namely, mobile
4               phones,     smartphones,   handheld   computers    and       computer   tablets;
5               Downloadable software for converting natural language into machine-
6               executable commands; Downloadable software, namely, an interpretive
7               interface for facilitating interaction between humans and machines;
8               Downloadable artificial intelligence software, namely, machine learning
9               software, visual perception software, speech or language recognition
10              software, decision-making software, translation software, touch recognition
11              software, conversational query software, software for converting natural
12              language into machine-executable commands, and digital assistant software;
13              Downloadable personal assistant software for searching the internet, making
14              appointments and reservations, facilitating purchases, providing customer-
15              specific information to meet individual need including customer-specific
16              reminders; Downloadable social assistant software for searching the internet,
17              making appointments and reservations, facilitating purchases, providing
18              customer-specific information to meet individual need including customer-
19              specific reminders; Downloadable software development tools to enable
20              mobile software applications to access backend services, namely, data
21              storage, push notifications, and user management; Downloadable software for
22              making reservations and bookings; Downloadable software for ordering
23              and/or purchasing goods and services; Downloadable software for wireless
24              content, data and information delivery; Downloadable software to enable
25              accessing, displaying, editing, linking, sharing and otherwise providing
26              electronic media and information via the internet and communications
27              networks;    Downloadable    software   for   facilitating    interaction   and
28              communication between humans and AI (artificial intelligence) platforms;


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 46 of 80



1               Downloadable application programming interface (API) software for
2               allowing data retrieval, upload, access and management; Downloadable
3               software for finding content and content publishers, and for subscribing to
4               content; Downloadable software for organizing images, video, and audio-
5               visual content using metadata tags; Interactive photo and video equipment,
6               namely, kiosks for capturing, uploading, editing, printing and sharing digital
7               images and video; Downloadable software in the nature of Application
8               programming interface (API) for use in developing AI (artificial intelligence)
9               platforms, namely, bots, virtual agents and virtual assistants; Downloadable
10              software for organizing events by facilitating communication between
11              organizers and participants; Virtual reality computer hardware; Virtual reality
12              game computer hardware; Downloadable virtual reality software for use in
13              enabling computers, tablet computers, mobile devices, and mobile telephones
14              to provide virtual reality experiences; Wearable peripherals for computers,
15              tablet computers, mobile devices and mobile telephones, namely,
16              configurable head-mounted video displays; Augmented reality computer
17              hardware; Virtual reality headsets; Augmented reality headsets; Virtual
18              reality glasses; Augmented reality glasses; Downloadable virtual reality
19              software for navigating a virtual reality environment; Downloadable
20              augmented reality software for navigating an augmented reality environment;
21              Downloadable augmented reality software for use in enabling computers,
22              tablet computers, mobile devices, and mobile telephones to provide
23              augmented reality experiences; Headsets for virtual reality games; Headsets
24              for augmented reality games; Computer peripherals in the nature of handheld
25              virtual reality controllers; Computer peripherals in the nature of handheld
26              augmented reality controllers; Downloadable video and computer game
27              programs; Downloadable interactive entertainment software for online
28              gaming; Downloadable gesture recognition software; Motion tracking


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 47 of 80



1               sensors for virtual reality technology; Motion tracking sensors for augmented
2               reality technology; Downloadable computer software for controlling the
3               operation of audio and video devices; Digital media streaming devices;
4               Earphones; Headphones; Downloadable video display software; Video
5               display hardware, namely, video drivers for video eyewear; Downloadable
6               software for navigating a virtual reality environment; Downloadable software
7               for use in enabling computers, tablet computers, mobile devices, and mobile
8               telephones to provide virtual reality and augmented reality experiences;
9               Downloadable virtual reality software for object tracking, motion control and
10              content visualization; Downloadable augmented reality software for object
11              tracking, motion control and content visualization; Downloadable virtual
12              reality software for users to experience virtual reality visualization,
13              manipulation and immersion; Downloadable augmented reality software for
14              users to experience augmented reality visualization, manipulation and
15              immersion; Downloadable virtual reality software for operating virtual reality
16              headsets; Downloadable augmented reality software for operating augmented
17              reality headsets; Downloadable virtual reality software for accessing
18              interactive entertainment; Downloadable augmented reality software for
19              accessing interactive entertainment; Virtual reality headsets; Downloadable
20              software for recording, storing, transmitting, receiving, displaying and
21              analyzing data from wearable computer hardware; Wearable computing
22              devices comprised primarily of downloadable software and electronic display
23              screens for connection to computers, tablet computers, mobile devices, and
24              mobile phones in order to enable virtual reality and augmented reality world
25              experiences; Goggles for enabling virtual reality, augmented reality world
26              experiences; Downloadable software for use in creating and designing virtual
27              reality and augmented reality software; Downloadable application
28              programming interface (API) computer software for developing virtual reality


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 48 of 80



1               and augmented reality experiences; Downloadable software and firmware for
2               running operating system programs; Downloadable computer operating
3               systems; Downloadable software for tracking motion in, visualizing,
4               manipulating, viewing, and displaying augmented and virtual reality
5               experiences; Downloadable software, firmware and hardware for use in
6               visual, voice, audio, motion, eye and gesture tracking and recognition;
7               Computer hardware and downloadable software for operating sensor devices;
8               Electronic motion and sound sensor devices, cameras, projectors, and
9               microphones for gesture, facial, and voice detection, capture and recognition;
10              Computer hardware and downloadable software for detecting objects, user
11              gestures and commands; Downloadable software and firmware for
12              controlling, configuring and managing controllers; Downloadable software
13              and firmware for enabling electronic devices to share data and communicate
14              with each other; Downloadable computer operating system software;
15              Downloadable software driver programs for electronic devices for enabling
16              computer hardware and electronic devices to communicate with each other;
17              Cameras; Batteries; Battery chargers; Battery cases; Battery packs; Power
18              battery charging and power management devices for mobile electronic
19              devices; Battery charging docks; Battery charging stands for mobile
20              electronic devices; Base battery chargers for mobile electronic devices;
21              Portable battery chargers; External battery chargers; Wireless battery
22              charging cases; Rechargeable electric battery devices, namely, rechargeable
23              batteries and portable power supplies; Rechargeable external battery packs
24              for use with mobile electronic devices; Chargers for batteries; Power
25              adapters; Electrical adapters; Electrical and electronic connectors; Bags and
26              cases specially adapted for cell phones and tablet computers; Briefcases,
27              backpacks and carrying cases specially adapted for cell phones and tablet
28              computers; Cases specially adapted for cell phones and tablet computers;


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 49 of 80



1               Faceplates for cell phones and tablet computers; Protective covers and cases
2               for cell phones and tablet computers; Protective sleeves for cell phones and
3               tablet computers; Holders, armbands, clips and carrying cases specially
4               adapted for cell phones and tablet computers; Stands specially adapted for
5               cell phones and tablet computers; Holders for cell phones and tablet
6               computers; Remote controls for mobile electronic devices; Electrical audio
7               and speaker cables and connectors; Audio speakers; Docking stations for
8               mobile electronic devices; Loudspeakers; Electronic cables and structural
9               parts thereof; Electric cables; Connection cables; Cables for optical signal
10              transmission; Power cables and cable connectors; Microphones; Audio
11              receivers; Audio transmitters; Wireless computer peripherals; Head-mounted
12              video displays; Receivers of electronic signals; Video receivers; Wireless
13              transmitters and receivers for reproduction of sound and signals; Electric
14              sensors; Sensors for monitoring physical movements; Downloadable
15              software for processing images, graphics, audio, video, and text;
16              Downloadable software, namely, instant messaging software, file sharing
17              software, communications software for electronically exchanging data, audio,
18              video images and graphics via computer, mobile, wireless, and
19              communication networks; Downloadable software for personal information
20              management, and data synchronization software; Downloadable software for
21              managing social networking content, interacting with a virtual community,
22              and transmission of images, audio, audio-visual and video content,
23              photographs, videos, data, text, messages, comments, advertisements, media
24              advertising communications and information; Downloadable software for
25              displaying and sharing a user's location and finding, locating, and interacting
26              with other users and places; Downloadable software for customer relationship
27              management (CRM); Downloadable software for providing consumer
28              information; Downloadable messaging software; Downloadable software for


                                               16
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 50 of 80



1               facilitating and arranging for the financing and distribution of fundraising and
2               donations; Downloadable software for facilitating voice over internet
3               protocol (VOIP) calls, phone calls, video calls, text messages, instant message
4               and online social networking services; Telecommunications equipment for
5               providing third party access to, and enabling the transmission of video, data
6               and voice over, global communications networks, namely, mobile and access
7               computer and mobile telephone terminals, base transceiver stations and
8               structural wireless transceiver radio parts thereof, data transceivers, data
9               repeaters, wireless routers and power switches, electronic transmission
10              circuits, integrated circuits, computer hardware, mobile cloud computer
11              servers, multiplexers, digital signal processors, radio frequency signal
12              processors, mobile switching circuits being electric circuit switches, air traffic
13              electrical controllers, mobility electrical controllers, access electrical
14              controllers, remote port electrical controllers, radio ports being data access
15              ports for use with electrical control panels for connecting multiple data and
16              electrical devices, antennas, electronic radio transmitters, downloadable
17              software for operating telecommunications applications, and mobile core
18              networks comprising data transceivers, wireless network and gateway routers
19              for collection, transmission and management of data, voice and video;
20              Downloadable communication software and communication computer
21              hardware for providing access to the Internet
22           b. International Class 035: Marketing, advertising and promotion services;
23              Promoting the goods and services of others via computer and communication
24              networks; Providing an online network environment for facilitating the
25              exchange and sale of services and products of third parties via computer and
26              communication networks, namely, provision of an on-line marketplace for
27              buyers and sellers of goods and services; Providing online marketplaces for
28              sellers and buyers of goods and/or services; Providing an online network


                                                17
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 51 of 80



1               environment, namely, web interfaces and mobile interfaces, for connecting
2               sellers with buyers; Advertising and information distribution services, in
3               particular, providing classified advertising space on the internet; Online
4               advertising services and promoting the goods and services of others via the
5               internet; Advertising services via electronic media; Dissemination of
6               advertising for others via a global computer network; Promoting the goods
7               and services of others by means of distributing video advertising on the
8               internet; Provision of market research and business information services;
9               Business and advertising services, namely, media planning and media buying
10              for others; Business and advertising services, namely, advertising services in
11              the nature of tracking advertising performance for analyzing advertising data,
12              for reporting advertising data, and for website optimization for optimizing
13              advertising performance; Consulting services in the fields of advertising and
14              marketing; Online retail store services featuring a wide variety of consumer
15              goods of others, gift cards, virtual reality headsets, and virtual reality content
16              and data; Business networking; Employment recruiting services; Providing
17              online computer databases and online searchable databases in the field of
18              online classified advertisements; Charitable services, in particular promoting
19              public awareness about charitable, philanthropic, volunteer, public and
20              community service and humanitarian activities; Organizing exhibitions and
21              events in the field of software and hardware development for commercial or
22              advertising purposes; Association services, namely, promoting the interests
23              of professionals and businesses in the field of mobile software application
24              development; Marketing and advertising consultation services; Advertising,
25              marketing and promoting the goods and services of others by means of
26              providing photo and video equipment at special events; Arranging and
27              conducting special events for commercial, promotional or advertising
28              purposes; Organizing and arranging exhibitions, tradeshows and events for


                                                18
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 52 of 80



1               business purposes; Organizing and conducting events, exhibitions,
2               expositions and business conferences for commercial purposes in the
3               interactive entertainment, virtual reality, consumer electronics and video
4               game entertainment industries; Online retail store services featuring virtual
5               reality and augmented reality headsets, games, content and digital media;
6               Providing telephone directory information via global communications
7               networks; Electronic catalog services featuring a variety of consumer goods
8               of others; Customer relationship management; Business assistance and
9               consulting services; Providing commercial information, namely, user
10              comments concerning business organizations and service providers, and other
11              resources; Advertising services, namely, advertising campaign management,
12              targeting, implementation and website optimization services; Marketing
13              research, namely, advertising campaign and consumer preferences research
14              and analysis; Advertising services, namely, scheduling, tracking, and
15              reporting advertising for others; Preparation and realization of media and
16              advertising plans and concepts; Ad serving, namely, placing advertisements
17              on websites for others; Advertising services, namely, targeting and website
18              optimization of online advertising; Business information management,
19              namely, reporting of business information and business analytics in the fields
20              of advertising and marketing; Promoting the public interest and awareness of
21              issues involving access to the internet for the global population; Business
22              consultation in the field of telecommunications; Business management
23              consulting   services   to   enable   business   entities,   non-governmental
24              organizations and non-profit organizations to develop, organize, and
25              administer programs to offer greater access to global communications
26              networks
27           c. International Class 038: Photo sharing and video sharing services, namely,
28              electronic transmission of digital photo files, videos and audio visual content


                                               19
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 53 of 80



1               among internet users; Providing access to computer, electronic and online
2               databases; Telecommunications services, namely, electronic transmission of
3               electronic media, data, messages, graphics, images, audio, video and
4               information; Providing online forums for communication on topics of general
5               interest; Providing online communications links which transfer mobile device
6               and internet users to other local and global online locations; Provision of
7               access to third party websites or to other electronic third party content via a
8               universal login; Providing online chat rooms, instant messaging services, and
9               electronic bulletin boards for transmission of messages among users in the
10              field of general interest; Audio, text and video broadcasting services over the
11              internet or other communications networks; Providing access to computer
12              databases in the fields of social networking social introduction; Providing
13              electronic bulletin boards for transmission of messages among users in the
14              field of general interest; Providing an online community forum for users to
15              share and stream information, audio, video, real-time news, entertainment
16              content, or information, to form virtual communities, and to engage in social
17              networking; Photo sharing and video sharing services, namely, electronic
18              transmission of digital photo and video files among internet users; Providing
19              access to computer databases and online searchable databases in the fields of
20              social networking and social introduction; Voice over internet protocol
21              (VOIP) services; Telephony communication services; Peer-to-peer photo and
22              data sharing services, namely, electronic transmission of digital photo files,
23              graphics and audio content among internet users; Telecommunications and
24              peer-to-peer network computer services, namely, electronic transmission of
25              images, audio-visual and video content, photographs, videos, data, text,
26              messages,    advertisements,    media    advertising   communications      and
27              information; Chatroom services for social networking; Streaming and live
28              streaming of video, audiovisual, and interactive audiovisual content via the


                                               20
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 54 of 80



1               internet; Telecommunications services, namely, electronic transmission of
2               virtual   reality     content   and    data;     Video    conferencing   services;
3               Teleconferencing services; Telecommunication services, namely, data
4               transmission and reception services via telecommunication networks; Mobile
5               phone communication services; Web messaging; Video teleconferencing;
6               Instant messaging services; Electronic exchange of voice, data, audio, video,
7               text and graphics accessible via computer and telecommunications networks;
8               Encrypted electronic transmission and delivery of recovered data; Provision
9               of access to telecommunication networks and the internet; Providing
10              telecommunications connections to a global computer network for Internet
11              connectivity; Information about telecommunication, namely, providing
12              information in the field of telecommunications; Consulting in the field of
13              telecommunication services, namely, transmission of voice, data, and
14              documents via telecommunications networks
15           d. International Class 041: Providing online educational publications for
16              software developers, namely, information relating to software development;
17              Entertainment services, namely, providing online video games; Providing
18              online video games; Providing online computer games and interactive video
19              games; Providing temporary use of online non-downloadable game software;
20              Entertainment services, namely, providing interactive online video games;
21              Electronic publishing services for others namely, audio, visual, audio-visual,
22              text and graphics in the field of general interest; Entertainment services,
23              namely, providing online video games in the nature of multiplayer and single
24              player games played via the internet or communication networks; Providing
25              information about online computer games and video games via computer or
26              communication networks; Arranging and conducting competitions for video
27              gamers    and       computer    game   players    for    entertainment   purposes;
28              Entertainment services, namely, contest and incentive award programs


                                                 21
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 55 of 80



1               designed to recognize, reward and encourage individuals and groups which
2               engage in self-improvement, self-fulfillment, charitable, philanthropic,
3               volunteer, public and community service and humanitarian activities and
4               sharing of creative work product; Entertainment services, namely, organizing
5               contest and incentive award programs for software developers to encourage
6               the development of software; Publication of educational materials, namely,
7               publishing of books, journals, newsletters, and electronic articles;
8               Educational services, in particular, organizing and conducting conferences,
9               courses, seminars, and online training in the fields of advertising, marketing,
10              social networking, the internet, and social media, and distribution of course
11              material in connection therewith; Online journals, namely, weblogs being
12              blogs featuring user-defined entertainment content; Entertainment services,
13              namely, providing online virtual reality games and virtual reality content
14              experiences via the internet; Entertainment services, namely, providing online
15              augmented reality games, development and production of interactive
16              multimedia augmented reality entertainment content; Providing an online
17              computer game for use network-wide by network users; Providing online
18              virtual reality games; Providing online augmented reality games; Organizing
19              exhibitions in the field of interactive entertainment, virtual reality, consumer
20              electronics and video game entertainment industries for cultural or
21              educational purposes; Arranging and conducting educational conferences in
22              the fields of software development, virtual reality, augmented reality,
23              artificial intelligence, the internet of things (IoT), and social networking;
24              Organizing exhibitions and events in the field of software development for
25              educational purposes; Educational services, namely, organizing and
26              conducting conferences and seminars in the fields of artificial intelligence and
27              the internet of things; Training in the field of design, advertising and
28              communication technologies; Training in the field of strategic media planning


                                               22
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 56 of 80



1               relating to advertising, marketing and business; Online journals, namely,
2               blogs featuring advertising, marketing and business; Providing computer,
3               electronic and online databases in the field of entertainment; Publishing
4               services, namely, publishing of electronic messages, text, videos, audio and
5               audio-visual works for others; Entertainment services, namely, providing an
6               online network environment, namely, web interfaces and mobile interfaces,
7               for streaming entertainment content and live streaming video of entertainment
8               events; Organizing live exhibitions and conferences in the fields of culture,
9               entertainment and social networking for educational purposes; Entertainment
10              services, namely, providing online virtual reality games, development and
11              production of multimedia interactive virtual reality entertainment content;
12              Entertainment services, namely, providing online augmented reality games,
13              development and production of multimedia interactive virtual reality
14              entertainment content; Entertainment services, namely, arranging and
15              conducting of competitions for encouraging use and development of
16              interactive entertainment, virtual reality, augmented reality, consumer
17              electronics, and video game entertainment software and hardware;
18              Organizing exhibitions and events for cultural, educational, or entertainment
19              purposes in the field of virtual reality; Production of video and computer
20              game software; Virtual reality arcade services; Augmented reality arcade
21              services; Virtual reality game services provided online from a computer
22              network; Augmented reality game services provided online from a computer
23              network; Augmented reality video production; Virtual reality video
24              production; Multimedia entertainment software production services;
25              Multimedia production services; Entertainment services in the nature of
26              development, creation, production and post-production services of
27              multimedia entertainment content; Entertainment services, namely, providing
28              online augmented reality games and development and production of


                                              23
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 57 of 80



1               multimedia interactive virtual reality entertainment content ; Entertainment
2               services, namely, providing software featuring online virtual reality
3               environments in which users can interact for entertainment purposes;
4               Entertainment services, namely, providing software featuring online
5               augmented reality environments in which users can interact for entertainment
6               purposes; Providing entertainment information from searchable indexes and
7               databases of information, including text, electronic documents, databases,
8               graphics, photographic images and audio visual information, via the internet
9               and communication networks; Providing information about online computer
10              games and video games via computer or communication networks; Arranging
11              and conducting competitions and facilitating events for video gamers and
12              computer game players for entertainment purposes; Organizing exhibitions in
13              the field of interactive entertainment, virtual reality, consumer electronics and
14              video game entertainment industries for cultural or educational purposes;
15              arranging and conducting educational conferences and organizing exhibitions
16              and events in the field of software development for educational purposes;
17              Providing a website featuring non-downloadable entertainment publications
18              in the nature of articles and weblogs about virtual reality technology;
19              Providing a website featuring non-downloadable entertainment publications
20              in the nature of articles and weblogs about augmented reality technology;
21              Entertainment    and    educational    services,   namely,     providing    non-
22              downloadable movies, television shows, webcasts, audiovisual, and
23              multimedia works in the fields of music, sports, art, fashion, current events,
24              recreational activities and general interest via the internet, as well as
25              entertainment information, reviews, and recommendations regarding movies,
26              television shows, webcasts, audiovisual, and multimedia works; Providing
27              computer, electronic and online databases featuring entertainment and
28              recreation information for educational, recreational and amusement use in the


                                               24
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 58 of 80



1               field of entertainment and in the fields of secondary, collegiate, social and
2               community interest groups
3            e. International Class 042: Computer services, namely, creating virtual online
4               communities for registered users to organize groups, meetings, and events,
5               participate in discussions and engage in social, business and community
6               networking; Computer services, in particular, hosting electronic websites for
7               others for organizing and conducting meetings, events and interactive
8               discussions via the internet and communication networks; Computer services
9               in the nature of providing temporary use of online non-downloadable
10              software that facilitates the creation of customized electronic personal and
11              group profiles or webpages featuring user-defined or specified information,
12              including, audio, video, images, text, content, and data; Providing online
13              network environments in the nature of web interfaces and mobile interfaces
14              featuring technology that enables online users to create personal profiles
15              featuring social and business networking information, to transfer and share
16              such information among multiple online facilities, to engage in social
17              networking, and to manage their social networking accounts; Providing on-
18              line non-downloadable software for social networking, creating a virtual
19              community, and transmission of audio, video, images, text, content, and data;
20              Application service provider (ASP) services, namely, hosting software
21              applications of others; Application service provider (ASP) featuring software
22              to enable or facilitate the creating, editing, uploading, downloading,
23              accessing, viewing, posting, displaying, tagging, blogging, streaming,
24              linking, annotating, indicating sentiment about, commenting on, embedding,
25              transmitting, and sharing or otherwise providing electronic media or
26              information via the internet and communications networks; Providing
27              temporary use of online non-downloadable software that enables users to
28              transfer personal identity data to and share personal identity data with and


                                              25
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 59 of 80



1               among multiple online facilities; Providing on-line non-downloadable
2               application programming interface (API) software for electronic messaging
3               and transmission of audio, video, images, text, content and data; Platform as
4               a service (PAAS) featuring computer software platforms for electronic
5               messaging and transmission of audio, video, photographic images, text,
6               graphics and data; Providing on-line non-downloadable software for
7               electronic messaging; Providing on-line non-downloadable software for
8               mapping; Application service provider (ASP) featuring software for mapping;
9               Providing on-line non-downloadable software for sharing and displaying a
10              user's location, planning activities with other users and making
11              recommendations; Application service provider (ASP) featuring software to
12              enable or facilitate the sharing and displaying a user's location, planning
13              activities with other users and making recommendations; Providing on-line
14              non-downloadable software for social and destination mapping; Application
15              service provider (ASP) featuring software to enable or facilitate social and
16              destination mapping; Providing on-line non-downloadable location-aware
17              software for searching, determining and sharing the location of goods,
18              services and events of interest; Application service provider (ASP) featuring
19              location-aware software for searching, determining and sharing the location
20              of goods, services and events of interest; Providing temporary use of non-
21              downloadable software applications for creating, managing and accessing
22              user-created and administered private groups within virtual communities;
23              Providing on-line non-downloadable software for searching and identifying
24              local and location-based points of interest, events, landmarks, employment
25              opportunities, entertainment, cultural events, shopping and offers; Providing
26              on-line   non-downloadable    software    for   searching   and   identifying
27              employment opportunities; Providing on-line non-downloadable software for
28              identifying and allowing users to contact government representatives;


                                              26
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 60 of 80



1               Providing on-line non-downloadable software for providing a virtual
2               marketplace; Providing on-line non-downloadable software for providing
3               location-based weather information; Providing on-line non-downloadable
4               software for providing, linking to, or streaming news or current events
5               information; Providing online network environments in the nature of web
6               interfaces and mobile interfaces featuring technology enabling users to
7               engage in social networking and manage their social networking content;
8               Providing on-line non-downloadable software for creating and managing
9               social media profiles and user accounts; Providing on-line non-downloadable
10              software for viewing and interacting with a feed of electronic media, namely,
11              images, audio-visual and video content, live streaming video, commentary,
12              advertisements, news, and internet links; Application service provider (ASP)
13              featuring software for social networking, managing social networking
14              content, creating a virtual community, and transmission of images, audio-
15              visual and video content, photographs, videos, data, text, messages,
16              advertisements, media advertising communications and information;
17              Platform as a service (PAAS) featuring software platforms for social
18              networking, managing social networking content, creating a virtual
19              community, and transmission of images, audio-visual and video content,
20              photographs, videos, data, text, messages, advertisements, media advertising
21              communications and information; Providing on-line non-downloadable
22              software for uploading, downloading, archiving, enabling transmission of,
23              and sharing images, audio-visual and video content and associated text and
24              data; Providing on-line non-downloadable software for streaming multimedia
25              entertainment content; Providing on-line non-downloadable software for
26              creating and maintaining an online presence for individuals, groups,
27              companies, and brands; Providing on-line non-downloadable software for
28              advertisers to communicate and interact with online communities; Providing


                                              27
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 61 of 80



1               online network environments in the nature of web interfaces and mobile
2               interfaces featuring temporary use of non-downloadable software for sending
3               and receiving electronic messages, instant messages, electronic message
4               alerts and reminders, photographs, images, graphics, data, audio, videos and
5               audio-visual content via the internet and communication networks; Providing
6               on-line non-downloadable software applications for social networking,
7               creating a virtual community, and transmission of virtual content and data;
8               File sharing services, namely, providing online network environments in the
9               nature of web interfaces and mobile interfaces for others featuring technology
10              enabling users to upload and download electronic files; Computer services,
11              namely, hosting electronic on-line websites for others for interactive
12              discussions   via   communication     networks;    Providing    online   non-
13              downloadable software for social networking; Computer services, namely,
14              creating an online community for registered users to engage in social
15              networking; Providing on-line non-downloadable software for online
16              charitable fundraising and making financial donations; User verification
17              services, namely, providing user authentication of personal identification
18              information using single sign-on technology for online software applications;
19              Design and development of computer hardware and software; Computer
20              services, namely, providing search engines for obtaining data via the internet
21              and communications networks; Providing search engine services, namely,
22              providing information from searchable indexes and databases of information,
23              including text, electronic documents, databases, graphics, electronic media,
24              images and audio visual content, via the internet and communications
25              networks; Providing temporary use of online non-downloadable e-commerce
26              software to allow users to perform electronic business transactions via the
27              internet and communications networks; Computer services, in particular,
28              application service provider featuring application programming interface


                                              28
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 62 of 80



1               (API) software to allow users to perform electronic business transactions via
2               a global computer network; Software as a service (SAAS) services featuring
3               software for sending and receiving electronic messages, notifications and
4               alerts and for facilitating electronic business transactions via the internet and
5               communications networks; Providing temporary use of online, non-
6               downloadable software for use in designing, managing, measuring, analyzing,
7               disseminating, and serving advertising of others; Application service provider
8               featuring application programming interface (API) software for managing,
9               tracking, reporting and measuring media planning, media buying and
10              advertising of others; Online ad-buying platform provider, namely, providing
11              non-downloadable software programs for allowing buyers and sellers of
12              online advertising to purchase and sell advertising inventory; Platform as a
13              service (PAAS) featuring computer software platforms for use in purchasing
14              and disseminating advertising; Application service provider (ASP) featuring
15              software for use in buying, selling, designing, managing, tracking, valuing,
16              optimizing, targeting, analyzing, delivery, and reporting of online advertising
17              and marketing; Application service provider (ASP) featuring software for use
18              in designing and managing online advertising and marketing campaigns;
19              Designing and developing computer game software and video game software
20              for use with computers, video game program systems and computer networks;
21              Development of hardware for use in connection with electronic and
22              interactive multimedia games; Electronic and interactive multimedia game
23              development services; Providing websites featuring technology that enables
24              users to upload, modify and share virtual reality content, information,
25              experiences and data; Providing websites featuring technology that enables
26              users to upload, modify and share augmented reality content, information,
27              experiences and data; Design, engineering, research, development and testing
28              services in the field of mobile application software development related to the


                                               29
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 63 of 80



1               use and functionality of hyperlinks; Technical consultation in the field of
2               mobile application software development related to the use and functionality
3               of hyperlinks; Providing temporary use of online, non-downloadable software
4               enabling development, assessment, testing, and maintenance of mobile
5               software applications for portable computing devices; Providing user
6               authentication services using single sign-on and software technology for e-
7               commerce transactions; Providing user authentication services of electronic
8               funds transfer, credit and debit card and electronic check transactions using
9               single sign-on and software technology; Application service provider
10              featuring an application programming interface (API) software to allow users
11              to perform electronic business transactions via the internet; Providing
12              temporary use of online, non-downloadable software for processing
13              electronic payments; Platform as a service (PAAS) services featuring
14              computer software to allow users to perform business and e-commerce
15              transactions; Mapping services; Providing temporary use of online, non-
16              downloadable software for making reservations and bookings; Application
17              service provider (ASP) featuring software to enable or facilitate making
18              reservations and bookings; Providing temporary use of online, non-
19              downloadable software for ordering and/or purchasing goods and services;
20              Application service provider (ASP) featuring software to enable or facilitate
21              ordering and/or purchasing goods and services; Providing temporary use of
22              online, non-downloadable computer software for facilitating interaction and
23              communication between humans and AI (artificial intelligence) platforms;
24              Application service provider (ASP) featuring software to enable or facilitate
25              interaction and communication between humans and AI (artificial
26              intelligence) platforms; Design of augmented reality and virtual reality effects
27              for use in modifying photographs, images, videos and audio-visual content;
28              Providing websites featuring technology that enables users to upload, modify


                                               30
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 64 of 80



1               and share virtual reality content and data; Providing websites featuring
2               technology that enables users to upload, modify and share augmented reality
3               content and data; Providing online websites featuring technology that gives
4               users the ability to upload, modify and share mixed reality content and data;
5               Online video ad-buying platform provider, namely, providing non-
6               downloadable software programs for allowing buyers and sellers of online
7               video advertising to purchase and sell video advertising inventory;
8               Application service provider (ASP) featuring software for use in buying,
9               selling, tracking, valuing, optimizing, targeting, analyzing, delivery, and
10              reporting of online advertising and marketing; Application service provider
11              (ASP) featuring software for designing and managing online video
12              advertising and marketing campaigns; Providing temporary use of online,
13              non-downloadable software for modifying photographs, images and audio,
14              video, and audio-video content with photographic filters and augmented
15              reality (AR) effects, namely, graphics, animations, text, drawings, geotags,
16              metadata tags, hyperlinks; Providing temporary use of non-downloadable
17              computer software for finding content and content publishers, and for
18              subscribing to content; Providing temporary use of online, non-downloadable
19              software for organizing images, video, and audio-visual content using
20              metadata tags; Computer services, namely, creating a virtual online
21              community for registered users to share, view, subscribe to and interact with
22              images, audio-visual and video content and related data and information;
23              Application service provider (ASP) featuring application programming
24              interface (API) software which facilitates online services for social
25              networking, developing software applications; Rental of software that gives
26              users the ability to upload, edit, and share images, videos and audio-visual
27              content; Computer services, namely, maintaining websites featuring online
28              user-defined content, advertisements, and social media feeds for others;


                                              31
     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 65 of 80



1               Providing temporary use of online, non-downloadable software for taking
2               photographs and recording audio, audio-visual and video content; Providing
3               temporary use of online, non-downloadable personal assistant software for
4               searching the internet, making appointments and reservations, facilitating
5               purchases, providing customer-specific information to meet individual need
6               including customer-specific reminders; Providing temporary use of online,
7               non-downloadable social assistant software for searching the internet, making
8               appointments and reservations, facilitating purchases, providing customer-
9               specific information to meet individual need including customer-specific
10              reminders; Providing temporary use of online, non-downloadable e-
11              commerce software to allow users to perform electronic business transactions
12              via the internet; Providing temporary use of online non-downloadable
13              software for accessing, collecting, displaying, editing, linking, modifying,
14              organizing, tagging, streaming, sharing, storing, transmitting, and otherwise
15              providing electronic media, photographs, images, graphics, audio, videos,
16              audio-visual content, data and information via the internet and
17              communication networks; Providing temporary use of online, non-
18              downloadable software for use in facilitating voice over internet protocol
19              (VOIP) calls, phone calls, video calls, text messages, electronic message,
20              instant message, and online social networking services; Application service
21              provider (ASP) services featuring software to enable or facilitate voice over
22              internet protocol (VOIP) calls, phone calls, video calls, text messages,
23              electronic message, instant message, and online social networking services;
24              Computer services, namely, providing information in the fields of information
25              technology and software development via the internet and communication
26              networks; Providing temporary use of online, non-downloadable software for
27              use in taking and editing photographs and recording and editing videos;
28              Application service provider (ASP) featuring software to enable or facilitate


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 66 of 80



1               taking and editing photographs and recording and editing videos; Design and
2               development of computer game hardware and software; Design and
3               development of virtual reality hardware and software; Design and
4               development of video game hardware and software; Computer services in the
5               nature of providing customized online web pages featuring user-defined or
6               specified information, personal profiles, virtual reality content, and
7               augmented reality content and data; Computer programming services for
8               creating virtual reality videos and games; Design and development of
9               augmented reality hardware and software; Development of interactive
10              multimedia software; Maintenance and repair of computer software;
11              Providing temporary use of online, non-downloadable software for
12              transmitting, sharing, receiving, downloading, displaying, interacting with
13              and transferring content, text, visual works, audio works, audiovisual works,
14              literary works, data, files, documents and electronic works; Computer
15              services, namely, providing information in the fields of information
16              technology and software development via a global computer network;
17              Technical support services, namely, troubleshooting in the nature of
18              diagnosing computer hardware and software problems; Computer services,
19              namely, cloud hosting provider services; Providing temporary use of online
20              non-downloadable cloud computing software for electronically storing data;
21              Providing temporary use of online non-downloadable cloud computing
22              software for creating virtual and augmented reality applications and
23              environments; Application service provider, namely, hosting, managing,
24              developing, and maintaining software applications, software, web sites, and
25              database software in the fields of wireless communication, mobile
26              information access, and remote data management for wireless delivery of
27              content to handheld computers, laptops and mobile electronic devices;
28              Application service provider (ASP) featuring software for social networking;


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 67 of 80



1               Providing an online network environment in the nature of websites featuring
2               technology that gives users the ability to upload, modify and share audio,
3               video, photographic images, text, graphics and data; Providing temporary use
4               of online non-downloadable software and applications for instant messaging,
5               voice over internet protocol (VOIP), video conferencing, and audio
6               conferencing; Data encryption services; Providing temporary use of online,
7               non-downloadable software and applications for customer relationship
8               management (CRM); Application service provider (ASP) featuring software
9               for customer relationship management (CRM); Providing temporary use of
10              online, non-downloadable online software platform that gives users the ability
11              to post ratings, reviews, referrals and recommendations relating to businesses,
12              restaurants, service providers, events, public services and government
13              agencies; Computer services, in particular, application service provider
14              featuring application programming interface (API) software for customer
15              relationship management (CRM); Hosting of digital content on the internet;
16              Computer services, namely, providing remote management of information
17              technology devices of others via computer networks, wireless networks or the
18              internet; Providing temporary use of online, non-downloadable software for
19              facilitating and arranging for the financing and distribution of fundraising and
20              donations; Rental of photography and/or videography kiosks being computer
21              hardware for capturing, uploading, editing and sharing of pictures and videos;
22              Providing technical advice regarding the repair and maintenance of
23              communications equipment
24           f. International Class 045: Internet-based social introduction and networking
25              services; Online social networking services; Providing information in the
26              form of databases featuring information in the fields of social networking and
27              social introduction; Providing information in the field of personal
28              development, namely, self-improvement and self-fulfillment; Providing


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 68 of 80



1                    concierge services for others comprising making requested personal
2                    arrangements to meeting individual needs in the nature of booking
3                    reservations, facilitating purchases, arranging deliveries, and providing
4                    customer-specific information to meet individual needs, including customer-
5                    specific reminders
6           32.      Facebook’s filing of the 2019 FB Application as an intent-to-use application
7    rather than an application based on use in commerce supports an inference that, as of the
8    November 4, 2019 filing date, Facebook was not using the FB Mark in commerce in
9    connection with the services listed. If Facebook was using the FB Mark in commerce for
10   the services listed, it would have filed its application under 15 U.S.C. § 1051(a) based on
11   that use in commerce, rather than filing its application as an intent-to-use application under
12   15 U.S.C. § 1051(b).
13          33.      In connection with an intent-to-use application, an applicant is required to
14   submit a declaration under penalty of perjury attesting, inter alia, that the applicant has a
15   bona fide intention to use the mark in commerce on or in connection with the goods/services
16   in the application. In connection with the 2019 FB Application, Facebook filed such a
17   declaration made by its Associate General Counsel, Scott Minden, on Facebook’s behalf on
18   November 4, 2019.
19          34.      The 2019 FB Application includes the following services which overlap with,
20   or in some cases are nearly identical to, those in the FB Registrations:
21                a. ’777 Registration:
22                          International Class 035: “Promoting the goods and services of others
23                          over the Internet”
24                   2019 FB Application:
25                          International Class 035: “Promoting the goods and services of others
26                          via computer and communication networks; . . . Online advertising
27                          services and promoting the goods and services of others via the
28                          internet; . . .”


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 69 of 80



1            b. ’235 Registration:
2                      International Class 038: “Providing online chat rooms and electronic
3                      bulletin boards for transmission of messages among registered users in
4                      the fields of collegiate life, general interest, classifieds, virtual
5                      community, and for social networking; and peer-to-peer photo sharing
6                      services, namely, electronic transmission of digital images among
7                      Internet and mobile device users”
8               2019 FB Application:
9                      International Class 038: “. . . Providing online chat rooms, instant
10                     messaging services, and electronic bulletin boards for transmission of
11                     messages among users in the field of general interest; . . . Peer-to-peer
12                     photo and data sharing services, namely, electronic transmission of
13                     digital photo files, graphics and audio content among internet
14                     users; . . .”
15           c. ’764 Registration:
16                     International Class 042: “Computer services, namely, hosting online
17                     web facilities for others for organizing and conducting online
18                     meetings, gatherings, and interactive discussions; computer services in
19                     the nature of customized web pages featuring user defined
20                     information, personal profiles and information”
21              2019 FB Application:
22                     International Class 042: “Computer services, namely, creating virtual
23                     online communities for registered users to organize groups, meetings,
24                     and events, participate in discussions and engage in social, business
25                     and community networking; Computer services, in particular, hosting
26                     electronic websites for others for organizing and conducting meetings,
27                     events and interactive discussions via the internet and communication
28                     networks; Computer services in the nature of providing temporary use


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 70 of 80



1                           of online non-downloadable software that facilitates the creation of
2                           customized electronic personal and group profiles or webpages
3                           featuring user-defined or specified information, including, audio,
4                           video, images, text, content, and data; . . .”
5                 d. ’234 Registration:
6                           International Class 045: “Internet based social introduction and social
7                           networking services”
8                    2019 FB Application:
9                           International Class 045: “Internet-based social introduction and
10                          networking services; . . .”
11          35.      Facebook’s filing of the 2019 FB Application as an intent-to-use based
12   application, rather than a use based application, suggests that it had not used the FB Mark
13   in connection with the above-identified services as of November 4, 2019, when the 2019
14   FB Application was filed or that it did not believe that it had existing valid registrations for
15   those services. If Facebook already had existing valid registrations for the FB Mark that
16   covered those services, it would not have needed to include them in the 2019 FB
17   Application.
18          36.      The inclusion of the same or closely overlapping or related services in the
19   2019 FB Application supports an inference that Facebook’s representations to the USPTO
20   in its Statements of Use (and in a declaration of continued use in commerce filed on
21   December 22, 2020 in connection with the ’777 Registration) regarding the FB
22   Registrations were false when made, especially in the context of the deficient specimens
23   and other indicia of nonuse.
24          37.      Moreover, Facebook’s inclusion of over 400 services in its 2019 intent-to-use
25   based application for the FB Mark is a further indicium that its applications to the USPTO
26   were made in bad faith for improper purposes.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 71 of 80



1             38.    Upon information and belief, Facebook had no bona fide intent to use the FB
2    Mark in commerce for each of the identified goods or services in the 2019 FB Application
3    or in the FB Registrations.
4                    E.    Facebook Publishes No Guidelines on How to Use the FB Mark, in
5                          Contrast to its Facebook Trademark and Other Marks it Uses
6             39.    Facebook’s public Brand Resource Center website, en.facebookbrand.com,

7    provides guidelines which “outline the rules” for using brand assets with respect to each of

8    the following brands: (1) “the Facebook company,” (2) “the Facebook app,” (3) Messenger,

9    (4) Instagram, (5) WhatsApp, (6) Oculus, and (7) Workplace.

10            40.    Facebook’s Brand Resources page for “the Facebook company” identifies the

11   Facebook wordmark as a “brand asset” and provides guidelines for how the wordmark

12   should         be     used.      See      https://en.facebookbrand.com/facebookcompany/;

13   https://en.facebookbrand.com/facebookcompany/assets/facebook-

14   wordmark?audience=company-landing. Facebook’s Brand Resources page for “the

15   Facebook app” shows approved “brand assets” that may be used in connection with

16   Facebook’s services and provides specific phrases to be used when “[t]alking about

17   Facebook” and copy standards to be used with respect to the word “Facebook.”

18   https://en.facebookbrand.com/facebookapp/.

19            41.    By contrast, Facebook’s Brand Resources pages provide no guidelines or

20   instructions on how to use any alleged FB Mark as a trademark or service mark in

21   connection with Facebook company, the Facebook app, or any services provided by

22   Facebook. Nor is the FB Mark included among the “brand assets” on these pages, in contrast

23   to the Facebook trademark/service mark.

24            42.    This is further indicia that Facebook is not using the alleged FB Mark in

25   commerce in connection with the services or goods in the FB Registrations. Facebook does

26   not bother to provide guidelines for the use of the FB Mark as it does for the Facebook

27   trademark/service mark.

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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 72 of 80



1           43.    If a visitor to the Facebook Brand Resources webpages scrolls all the way to
2    the bottom of the page, there is a link to a page entitled “Our Trademarks.” This page
3    includes “FB” in a glossary listing numerous marks in which Facebook and its affiliate
4    companies claim trademark rights, including common English words such as “Face” and
5    “Book.” The page states that these purported trademarks may not be used without
6    Facebook’s permission. Facebook’s assertion of exclusive trademark rights in common
7    words is another example of its trademark overreach.
8                  F.     Facebook’s Recent Uses of “FB” Are Not Trademark Uses of the
9                         FB Mark in Commerce for the Services in the FB Registrations
10          44.    While Facebook does own domain names incorporating the letters FB (e.g.,

11   fb.com, which re-directs to facebook.com) the use of “FB” in a domain name is not a use

12   of the FB Mark in commerce to identify the source of goods or services. To qualify as a

13   trademark/service mark use, the asserted mark must be used to identify and distinguish the

14   trademark owner’s goods and services. Mere use of a domain name incorporating an

15   asserted mark is not a use of the mark in commerce. Domain name use merely identifies an

16   address or location on the Internet.

17          45.    After WhoisGuard filed its original Counterclaim for cancellation in this

18   action, Facebook identified an image of “FB” in a rainbow-colored circle design used as a

19   profile picture on the Facebook company’s social media pages, including the Facebook

20   company’s own Facebook page:

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15          46.    In November 2019 Facebook introduced new corporate branding to
16   distinguish the “Facebook company” from the “Facebook app”—likely hoping to distract
17   the public from the Cambridge Analytica data scandal, the $5 billion penalty assessed
18   against Facebook by the Federal Trade Commission for privacy violations, controversy
19   surrounding Facebook’s policies for political advertising, and other scandals.
20          47.    On information and belief, Facebook began using the social media profile
21   picture identified in paragraph 45 above in 2020 in connection with the Facebook
22   company’s new corporate branding.
23          48.    The social media profile pictures identified by Facebook do not constitute a
24   trademark use in commerce of the FB Mark in connection with the services in the FB
25   Registrations. In relation to cancellation for abandonment, “a mark shall be deemed to be
26   in use in commerce . . . on services when it is used or displayed in the sale or advertising of
27   services and [i] the services are rendered in commerce, or [ii] the services are rendered in
28   more than one State or in the United States and a foreign country and the person rendering


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 74 of 80



1    the services is engaged in commerce in connection with the services.” 15 U.S.C. § 1127.
2    Moreover, “use in commerce” requires bona fide use of the mark made in the ordinary
3    course of trade, and not made merely to reserve a right in a mark. Id.
4           49.       The social media pages do not display or use the FB Mark in the sale or
5    advertising of the services in the FB Registrations. For example, as to the ’777 Registration,
6    a December 2, 2020 post on Facebook’s Facebook page cited by Facebook’s attorneys
7    which asks users to share “what makes the business they love special” does not constitute a
8    use or display of the FB Mark in commerce in connection with the sale or advertising of
9    Facebook’s service of “promoting the goods and services of others over the Internet.” Upon
10   information and belief, Facebook has not rendered the services in the FB Registrations in
11   commerce under the FB Mark.
12          50.       Moreover, the profile picture of “FB” surrounded in a rainbow-colored circle,
13   like Facebook’s other alleged specimens of use, conveys a different commercial impression
14   than the FB Mark under the FB Registrations. Consequently, the rainbow-colored design
15   image is materially different from and is not the FB Mark. Notably, Facebook chooses not
16   to use the circle R symbol (®) in connection with the social media profile pictures identified
17   by Facebook.
18          51.       The other purported examples of “use in commerce” of the FB Mark
19   identified by Facebook are similarly defective. For example, Facebook, through its attorney,
20   identified the use of “FB” as the stock ticker symbol for Facebook, Inc., which does not
21   function as a trademark or the identification of the source of the services under the FB
22   Registrations.
23          52.       Finally, Facebook, through its attorney, identified an FB “favicon,” or small
24   image file, associated with the Facebook corporate Brand Resources website. In certain web
25   browsers, the favicon is visible in the browser URL address bar, bookmarks list, or tab in
26   which the website is loaded:
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14          53.    The “FB” favicon is not a trademark or service use of the FB Mark in
15   commerce in connection with any of the services in the FB Registrations. While Facebook
16   currently uses the “FB” favicon on its corporate websites, it does not use or display the
17   “FB” favicon in the sale or advertising of services. Notably, the facebook.com website does
18   not use the “FB” favicon. Visitors to Facebook’s corporate website are likely to perceive
19   the “FB” favicon as an indicium of Facebook, Inc.’s corporate or trade name, not as a
20   service mark for the services in the FB Registrations.
21                                 FIRST CAUSE OF ACTION
22                              (Cancellation of FB Registrations)
23                                   Pursuant to 15 U.S.C. § 1119
24          54.    Namecheap repeats and realleges each of the allegations set forth in the
25   preceding paragraphs of this Counterclaim as if fully set forth herein.
26          55.    This Court has the power to order cancellation of the FB Registrations
27   pursuant to 15 U.S.C. § 1119.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 76 of 80



1           56.    The FB Registrations are not incontestable. While the FB Registrations are
2    more than five years old, Facebook has not filed a declaration of incontestability for any of
3    the FB Registrations pursuant to Section 15 of the Lanham Act, 15 U.S.C. § 1065.
4           57.    On October 30, 2014, Facebook filed a Statement of Use in support of its ’777
5    Registration. In the Statement of Use, Facebook’s Associate General Counsel, Kathleen
6    Johnston, claimed on Facebook’s behalf that “the applicant or the applicant’s related
7    company or licensee is using the mark in commerce on or in connection with all the
8    goods/services in the application or notice of allowance, or as subsequently modified, and
9    such use by the applicant’s related company or licensee inures to the benefit of the
10   applicant,” and that “the specimen(s) shows the mark as used on or in connection with the
11   goods/services in commerce.”
12          58.    On November 7, 2014, Facebook filed a Statement of Use in support of its
13   ’764 Registration in which Ms. Johnston made the same representations on Facebook’s
14   behalf with respect to the services in the ’764 Registration.
15          59.    On May 12, 2015, Facebook filed a Statement of Use in support of its ’234
16   Registration in which Ms. Johnston made the same representations on Facebook’s behalf
17   with respect to the services in the ’234 Registration.
18          60.     On May 12, 2015, Facebook filed a Statement of Use in support of its ’235
19   Registration in which Ms. Johnston made the same representations on Facebook’s behalf
20   with respect to the services in the ’235 Registration.
21          61.    Facebook did not subsequently modify any services in its Statements of Use
22   for the FB Registrations.
23          62.    Upon information and belief, neither Facebook nor any related company or
24   licensee was in fact using the FB Mark in commerce in connection with any of the services
25   described in the Statements of Use for the FB Registrations.
26          63.    Ms. Johnston must have known that the Statements of Use she signed were
27   false. As Facebook’s Associate General Counsel who signed numerous filings to the
28   USPTO on Facebook’s behalf regarding Facebook’s purported bona fide intentions and


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 77 of 80



1    ongoing efforts to use its marks in commerce, including for the alleged FB Mark, Ms.
2    Johnston necessarily would have been aware that Facebook did not use the FB Mark as a
3    service mark in commerce for the identified services. Additionally, Ms. Johnston and
4    Facebook were put on notice that the FB Newswire screenshots were unacceptable
5    specimens that did not demonstrate use in commerce of the FB Mark as early as November
6    12, 2014, when the Examining Attorney for the ’777 Registration rejected the specimen for
7    this reason.
8           64.      Each time Facebook submitted a request for extension of time to submit a
9    Statement of Use and specimens of alleged proof of use in commerce for the FB
10   Registrations, as described in paragraphs 12-17 above, Ms. Johnston represented to the
11   USPTO on Facebook’s behalf that she believed Facebook had “a continued bona fide
12   intention” to use the FB Mark in commerce in connection with all of the services in the
13   respective FB Registrations (either directly, or through its “related company or licensee”)
14   and that it was making ongoing efforts to use the FB Mark in commerce for all of the
15   services.
16          65.      On information and belief, Facebook did not have a bona fide intention to use
17   the FB Mark in commerce for the identified services in the FB Registrations, either prior to
18   filing the application or at the times it submitted its requests for extensions to the USPTO.
19          66.      On information and belief, the representations were knowingly false and
20   made with the subjective intent to deceive the USPTO into granting the FB Registrations.
21   Facebook’s fraudulent intent is based on the following facts:
22                a. that in November 2019, Facebook submitted its application for the FB Mark
23                   on an intent-to-use basis for services which are identical to or which overlap
24                   with or are related to those in the FB Registrations, from which it can be
25                   inferred that Facebook was not actually using the FB Mark in commerce in
26                   connection with those services, or alternatively that it did not believe that it
27                   had an existing valid registration that covered the services identified in the
28                   FB Registrations;


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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 78 of 80



1                 b. the FB Newswire page screenshots Facebook submitted as alleged specimens
2                    do not show trademark use/function in commerce of the FB Mark in
3                    connection with the identified services;
4                 c. Facebook’s trademark counsel is sophisticated and must have known that the
5                    representations were false, particularly after the Examining Attorneys for the
6                    first two applications rejected the initial FB Newswire screenshots submitted
7                    as specimens as unacceptable;
8                 d. The FB Newswire page ceased operating after the USPTO granted the FB
9                    Registrations;
10                e. It appears that Facebook’s primary use of the FB Registrations has been for
11                   initiating domain name dispute proceedings, which is not a trademark use in
12                   commerce of the FB Mark for the listed services in commerce; and
13                f. Facebook’s conduct in connection with the FB Registrations is part of a larger
14                   pattern of trademark abuse and overreach by Facebook.
15          67.      In addition, in the context of all of the above facts, Facebook’s fraudulent
16   intent is further supported by Facebook’s filing of numerous requests for extensions of time
17   to file its Statements of Use and specimens of use based on identical, boilerplate reasons.
18   In particular, for the ’234 and ’235 Registrations, Facebook sought requests for extensions
19   of time as late as April 8, 2015 in which it represented that it had a continued bona fide
20   intention to use the FB Mark, but when it ultimately filed its Statements of Use for those
21   registrations it represented that it had first used the FB Mark in commerce on “04/00/2014.”
22   These facts, together with all of the other indicia described above, suggest that Facebook
23   lacked a progressive and ongoing bona fide intent to use the FB Mark in commerce for the
24   identified services.
25          68.      Facebook caused the fraudulent Statements of Use and requests for extension
26   to be filed with the intent of deceiving the USPTO to obtain the FB Registrations.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 79 of 80



1           69.      On information and belief, Facebook has not used the FB Mark as a service
2    mark for the identified services under the FB Registrations for a period of at least three
3    consecutive years.
4           70.      On information and belief, Facebook has no intent to use the FB Mark as a
5    service mark for the services identified in the FB Registrations.
6           71.      On information and belief, Facebook has abandoned the FB Mark for the
7    services identified in the FB Registrations.
8           72.      For the reasons above, the FB Registrations are invalid.
9           73.      Namecheap has been damaged and will likely continue to be damaged by the
10   FB Registrations and may assert a counterclaim seeking cancellation of the FB
11   Registrations because Facebook is suing Namecheap in this action for cybersquatting and
12   trademark infringement based on the FB Registration and is relying, in part, on the FB
13   Registrations as a basis for its claims against Namecheap.
14          74.      Accordingly, Namecheap is entitled to an order from this Court canceling the
15   FB Registrations.
16                            NAMECHEAP’S PRAYER FOR RELIEF
17          WHEREFORE, Namecheap hereby requests that judgment be entered in its favor
18   and the following relief be provided:
19                a. Cancellation of Facebook’s federal trademark Registration Nos. 4,659,777,
20                   4,764,764, 4,782,234, and 4,782,235;
21                b. For recovery of Namecheap’s costs of suit, including its attorneys’ fees to
22                   the extent recoverable pursuant to 15 U.S.C. § 1117 and any other
23                   applicable provision of law;
24                c. For damages under 15 U.S.C. § 1120; and
25                d. For such other and further relief as the Court deems just and equitable.
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     Case 2:20-cv-00470-GMS Document 112 Filed 07/22/21 Page 80 of 80



1                                        JURY DEMAND
2          Defendants demand a trial by jury of all issues so triable pursuant to Rule 38 of the
3    Federal Rules of Civil Procedure.
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5    Dated: July 22, 2021
                                          ROME & ASSOCIATES, A.P.C.
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7
                                          By: s/ Eugene Rome
8
                                             Eugene Rome
9                                            Sridavi Ganesan
                                             Brianna Dahlberg
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11
                                          FENNEMORE CRAIG, P.C.
12
13
                                          By: s/ Ray Harris
14                                           Ray K. Harris
15                                           Mario C. Vasta

16                                            Attorneys for Defendants and
                                              Counterclaimants
17                                            Namecheap, Inc. and Whoisguard, Inc.
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